        Case 06-01019 Doc 1-1 Filed 01/24/06 Entered 01/24/06 13:19:15 Exhibit A - Lease
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STATE OF       lovigpdJ
                                                       GUARANTY

        THIS GUARANTY ("Guaranty3') is made and executed this a i k y of
following individual(s):
                                                                                             >'6            , 2 0 d by the

                                                    who resides at

                                                   ,who resides at   /q 3 #,        ..     ..                           ;and

                                                    , who resides at
         (hereinafter individually and collectively referred to as "Guarantor"),

in order to      induce Hill              i  Inc. ("Lessor") to enter into a lease agreement ("Lease") with
Tolliwv ~ & < f i * f j r ~ pL   ($,I$\     lessee") with an effective date the same day this Guaranty is executed
("Effective Date") and to which this Guarantylis attached.

         Guarantor hereby covenants and agrees that for and in consideration of the execution of the Lease by Lessor and as
a material inducement to Lessor to execute said Lease, Guarantor hereby jointly, severally, in solido, unconditionally and
irrevocably guarantees the prompt payment by Lessee of all monies and all other sums payable by Lessee under said Lease
and the faithful and prompt performance by Lessee of each and every one of the terms, conditions and covenants of said
Lease to be kept and performed by Lessee, all as is defined and set forth in said Lease.

         It is specifically agreed and understood that the terms of the foregoing Lease may be altered, affected, modified or
changed by agreement between Lessor and Lessee, or by a course of conduct. It is understood that said Lease may not be
assigned by Lessor or any assignee of Lessor without the express consent of Lessee, subject to Lessee's sole discretion.

          This Guaranty shall not be released, modified or affected by failure or delay on the part of Lessor to enforce any of
the right$ or remedies of the Lessor under said Lease, whether pursuant to the terms thereof or at law or in equity.

         No notice of default need be given to Guarantor, it being specifically agreed and understood that the guarantee of
the undersigned is a continuing guarantee during the period stated above under which Lessor may proceed forthwith and
immediately against Lessee or against Guarantor following any breach or default by Lessee or for the enforcement of any
rights which Lessor may have as against Lessee pursuant to or under the terms of the Lease or at law or in equity.

          Guarantor hereby waives (a) notice of acceptance of this Guaranty, @)demand of payment, presentation and
protest, (c) any right to require the Lessor to proceed against the Lessee,

         The obligations of the Guarantor hereunder shall include payment to Lessor of all reasonable costs of any
successful legal action by Lessor against Guarantor, including reasonable attorney fees.

        THUS DONE AND PASSED, in parish and state first mentioned above, on the Effective Date, in the presence of
the undersigned competent wiblesses, and after due reading of the whole.


                                                                 GUARANTOR:




WITNESSES:                                                       GUARANTOR:




                                                                 ACCEPTEDBYLESFR
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                                 documents Page 2 of 27

STATE OF       hi5ip~JJ

                                                      GUARANTY

        THIS GUARANTY ("Guaranty") is made and executed this E k y              Z'_/&   of                   2 0 d by the
following individual(s):

                                        Jf v      ,who resides at  /-       ~ d f/ d
                                                  ,who resides at /q?                                                  ;and
                                                 , who resides at
        mereinafter individually and couectively referred to as "Guarantor"),

in order to ind ce Hill           i    Oi    Jnc. ("Lessor")     to enter into a lease agreement ("Lease")               with
Tollirsr Enkf 0.d   Xrnfi~ifi181*lOWp ("Lessee") with an effective date the same day this Guaranty is executed
("Effective Date") and to which this Guaranty is attached.

         Guarantor hereby covenants and a p e s that for and in consideration of the execution of the Lease by Lessor and as
a material inducement to Lessor to execute said Lease, Guarantor hereby jointly, severally, in solido, unconditionally and
irrevocably -tees      the prompt payment by Lessee of all monies and all other sums payable by Lessee under said Lease
and the faithful and prompt performance by Lessee of each and every one of the terms, conditions and covenants of said
Lease to be kept and performed by Lessee, all as is defined and set forth in said Lease.

         It is specifically a p e d and understood that the terms of the foregoing Lease may be altered, affected, modified or
changed by agreement between Lessor and Lessee, or by a c o m e of conduct. It is understood that said Lease may not be
assigned by Lessor or any assignee of Lessor without the express consent of Lessee, subject to Lessee's sole discretion.

         This Guaranty shall not be released, modified or affected by failure or delay on the part of Lessor to enforce any of
the rights or remedies of the Lessor under said Lease, whether pursuant to the terms thereof or at law or in equity.

         No notice of default need be given to Guarantor, it being specifically a p e d and understood that the guarautee of
the undersigned is a continuing guarautee during the period stated above under which Lessor may proceed forthwith and
immediately against Lessee or against Guarantor fouowing any breach or default by Lessee or for the enforcement of any
rights which Lessor may have as against Lessee pursuant to or under the terms of the Lease or at law or in equity.

          Guarantor hereby waives (a) notice of acceptance of this Guaranty, (b) demand of payment, presentation and
protest, (c) any right to require the Lessor to proceed against the Lessee,

        The obligations of the Guarantor hereunder shall include payment to Lessor of all reasonable costs of any
successfnl legal action by Lessor against Guarantor, including reasonable attorney fees.

        T W S DONE AND PASSED, in parish and state first mentioned above, on the Effective Date, h the presence of
the undersigned competent witnesses, and after due reading of the whole.


                                                                GUARANTOR:




WITNESSES:                                                      GUARANTOR:


BY:
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                                 documents Page 3 of 27

STATE OF       buisiPI+
                                                       GUARANTY

        THIS GUARANTY ("Guaranty") is made and executed Ihis
following individual(s):
                                                                            =ky          of   $1   6        , Z O ~ by, the

                                             V' ,who resides at     /m m,
                                                    who resides at /Q   3 fl/ " .          ..                           ;and

                                                  , who resides at
        (hereinafter individually and collectively referred to as "Gumtor"),

in order to ind e Hill            i    Oi     Inc. ("Lessor")     to enter into a lease agreement ("Lease") with
Tolliw Ed?&*        %m fit, fiD81~      hlp("Lessee9') with an effec"e
("Effective Date") and to which this Guarantylis attached.
                                                                             date the same day tbis Guaranty is executed


         Guarantor hereby covenants and agrees that for and in consideration of the execution of the Lease by Lessor and as
a material inducement to Lessor to execute said Lease, Guarantor hereby jointly, severally, in solido, unconditionally and
irrevocably guarantees the prompt payment by Lessee of all monies and all other sums payable by Lessee under said Lease
and the faithful and prompt performance by Lessee of each and every one of the terms, conditions and covenana of said
Lease to be kept and performed by Lessee, all as is defined and set forth in said Lease.

         It is specifically agreed and understood that the terms of the foregoing Lease may be altered, affected, modified or
changed by agreement between Lessor and Lessee, or by a course of conduct. It is understood that said Lease may not be
assigned by Lessor or any assignee of Lessor without the express consent of Lessee, subject to Lessee's sole discretion.

          This Guaranty shall not be released, modified or affected by failure or delay on the part of Lessor to enforce any of
the rights or remedies of the Lessor under said Lease, whether pursuant to the terms thereof or at law or in equity.

         No notice of default need be given to Guarantor, it being specifically agreed and understood that the guarantee of
the undersigned is a continuing guarantee during the period stated above under which Lessor may proceed forthwith and
immediately against Lessee or against Guarantor following any breach or default by Lessee or for the enforcement of any
rights which Lessor may have as against Lessee pursuant to or under the terms of the Lease or at law or in equity.

          Guarantor hereby waives (a) notice of acceptance of thii G u m t y , @) demand of payment, presentation and
protest, (c) any right to require the Lessor to proceed against the Lessee,

        The obligations of the Guarantor hereunder shall include payment to Lessor of all reasonable costs of any
successful legal action by Lessor against Guarantor, including reasonable attorney fees.

         THUS DONE AND PASSED, in parish and state k t mentioned above, on the Effective Date, in the presence of
the undersigned competent witnesses, and after due reading of the whole.


                                                                GUARANTOR:




                                                                            *
WITNESSES:                                                      GUARANTOR:


BY:




                                                                ACCEPTEDBYLESPR



                                                                         BY:
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STATE OF       bui9PV~JJ
                                                      GUARANTY

        THIS GUARANTY ("Guaranty3') is made and executed this
fouowing individual(s):
                                                                            *kY        of   Z
                                                                                            '6            , 2 0 d by the



                                                                                                                      ;and

                                                  , who resides at
        (hereinafter individually and collectively referred to as "Guarantor"),

                                                    ("Lessor") to enter into a lease agreement ("Lease") with
                                                 ("Lessee") with an effective date the same day this Guaranty is executed


         Guarantor hereby covenants and agrees that for and in consideration of the execution of the Lease by Lessor and as
a material inducement to Lessor to execute said Lease, Guaraotor hereby jointly, severally, in solido, unconditionally and
irrevocably guarantees the prompt payment by Lessee of all monies and all other sums payable by Lessee under said Lease
and the faitMd and prompt performance by Lessee of each and every one of the t e r n , conditions and covenants of said
Lease to be kept and performed by Lessee, all as is defined and set forth in said Lease.

         It is specifically agreed and understood that the terms ofthe foregoing Lease may be altered, aEected, m&ed or
changed by agreement between Lessor and Lessee, or by a course of conduct. It is understood that said Lease may not be
assigned by Lessor or any assignee of Lessor without the express consent of Lessee, subject to Lessee's sole discretion.

          This Guaranty shall not be released, modified or affected by failure or delay on the p& of Lessor to enforce any of
the rights or remedies of the Lessor under said Lease, whether pursuant to the terms thereof or at law or in equity.

         No notice of default need be given to Guarantor, it being specifically agreed and understood that the guarantee of
the undersigned is a continuing guarantee during the period stated above under which Lessor may proceed forthwith and
immediately against Lessee or against Guarantor following any breach or default by Lessee or for the enforcement of any
rights which Lessor may have as against Lessee pursuant to or under the t e r n ofthe Lease or at law or in equity.

          Guaraotor hereby waives (a) notice of acceptance of this Guaraoty, @) demand of payment, presentation and
protest, (c) any right to require the Lessor to proceed against the Lessee,

        The obligations of the Guarantor hereunder shall include payment to Lessor of all reasonabIe costs of any
successful legal action by Lessor against Guarantor, including reasonable attorney fees.

         THUS DONE AND PASSED,in parish and state first mentioned above, on the Effective Date, in the presence of
the undersigned competent witnesses, and after due reading ofthe whole.


                                                                GUARANTOR:




BY:




                                                                             *
WITNJCSSES:                                                     GUARANTOR:


BY:




                                                                          BY:
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  STATE OF        L ~ ' I SP ) A ~
  PARISHICOUNTY OF                -@vHb r' Q
                                                          GUARANTY
                                                                                                 /
            THIS GUARANTY ("Guaranty") is made and executed this @\ay                       of   J       U   ~ ,2   0 d by the


                              -                        who resides at

                                                      ,who resides at                                                    ; and

                                                       , who resides at
            (hereinafter individually and collectively referred to as "Guarantor"),

  in ordq to induce Hill                      Inc. ("Lessor") to enter into a lease agreement ("Lease") with
ml\~r;ep   ~ = n k ~ n a t1-10\ c ~ ~ ~           ("Lessee") with an effective date the same day this Guaranty is executed
  ("Effective Date") and to which this Guaranty is attached.

           Guarantor hereby covenants and agrees that for and in consideration of the execution of the Lease by Lessor and as
  a material inducement to Lessor to execute said Lease, Guarantor hereby jointly, severally, in solido, unconditionally and
  irrevocably guarantees the prompt payment by Lessee of all monies and all other sums payable by Lessee under said Lease
  and the faithful and prompt performance by Lessee of each and every one of the terms, conditions and covenants of said
  Lease to be kept and performed by Lessee, all as is defined and set forth in said Lease.

           It is specifically agrecd and understood that the terms of the foregoing Lease may be altered, affected, modified or
  changed by agreement between Lessor and Lessee, or by a c o m e of conduct. It is understood that said Leasemay not be
  assigned by Lessor or any assignee of Lessor without the express consent of Lessee, subject to Lessee's sole discretion.

            This Guamnty shall not be released, modified or affected by failure or delay on the part of Lessor to enforce any of
  the rights or remedies of the Lessor under said Lease, whether pursuant to the terms thereof or at law or in equity.

           No notice of default need be given to Guarantor, it being specificalty agreed and understood that the guarantee of
  the undersigned is a continuing guarantee during the period stated above under which Lessor may proceed forthwith and
  immediately against Lessee or against Guarantor following any breach or default by Lessee or for the enforcement of any
  rights which Lessor may have as against Lessee pursuant to or under the terms of the Lease or at law or in equity.

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  protest, (c) any right to require the Lessor to proceed against the Lessee,

          The obligations of the Guarantor hereunder shall include payment to Lessor of a11 reasonable costs of any
  successful legal action by Lessor against Guarantor, including reasonable attorney fees.

          THUS DONE AND PASSED, in parish and state first mentioned above, on the Effective Date, in the presence of
  the undersigned competent witnesses, and after due reading of the whole.


           mSflS:        ,j                                         GUARANTOR:

                                                                                                     I

                                                                             BY:



  BY:

  WITNESSES:


  BY:

                                                                             ~ r i eName:
                                                                                    t
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             -                                              GUARANTY

                     C U M Y ("Guaranty") is made and executed this

                             -
                                                                                 b.'ky        of   %               2 n d by the




             -
                                                              resides at

                                                         who resides at                                                     ;and

                                                      , who resides at
             (hereinatk individually and collectively referred to as "Guarantor"),

     in ordg to       ' duce Hill C'ty Oil, Inc. ("Lessor") to enter into a lease agreement ("Lease") with
-1       ~kv~"t\htil
       ~IW                        idn\ct.c\ Ch.p ("Lessee") with an effective date the same day this Guaranty is executed
     ("Effective Datee') and to which this Guaranty is attached.

              Guarantor hereby covenants and agrees that for and in consideration of the execution of the Lease by Lessor and as
     a material inducement to Lessor to execute said Lease, Guarantor hereby jointly, severally, in solido, unconditionally and
     irrevocably guarantees the prompt payment by Lessee of all monies and all other sums payable by Lessee under said Lease
     and the faithful and prompt performance by Lessee of each and every one of the terms, conditions and covenants of said
     Lease to be kept and performed by Lessee, all as is d e h e d and set forth in said Lease.

              It is specifically agreed and understood that the terms of the foregoing Lease may be altered, &ted, modified or
     changed by agreement between Lessor and Lessee, or by a course of conduct. It is understood that said Leaseplay not be
     assigned by Lessor or any assignee of Lessor without the express consent of Lessee, subject to Lessee's sole discretion.

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     the rights or remedies of the Lessor under said Lease, whether pursuant to the terms thereof or at law or in equity.

              No notice of default need be given to Guarantor, it beiig specifically agreed and understood that the guarantee of
     the undersigned is a continuing guarantee during the period stated above under which Lessor may proceed forthwith and
     immediately against Lessee or against Guarantor following any breach or default by Lessee or for the enforcement of any
     rights which Lessor may have as against Lessee pursuant to or under the terms of the Lease or at law or in equity.

               Guarantor hereby waives (a) notice of acceptance of this Guaranty, @) demand of payment, presentation and
     protest, (c) any right to require the Lessor to proceed against the Lessee,

              The obligations of the Guarantor hereunder shall include payment to Lessor of all reasonable costs of any
     successlid legal action by Lessor against Guarantor, including reasonable attorney fees.

              THUS DONE AND PASSED, in parish and state first mentioned above, on the Effective Date, in the presence of
     the undersigned competent wiinesses, and after due reading of the whole.


                                                                     GUARANTOR:

                                                                                                       2
     BY.                                                                      BY:                      -
                                                                              Print Name:      &               f          l 2.-./
                                                                                                                               ~       ~
     BY:
                                                                                                   1
     WITNESSES:                                                      GUARANTOR:


     BY:
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Date:    07,//31%8(
                                                                                                  +h
        This Goodwill PaymenLAgreement ("Agreement") is made and entered into on the /3 day
of     Glh                ,20% and in connection with a Lease Agreement ("Lease") of that certain
immovable ~ o p e r t ylocated at 1001 Broadway, Delhi, Louisiana. Hill City O     il Company, Inc., a
Mississippi corporation, whose address is 1409 Dunn Street, Houma, LA 70360 ("Lessor"); and
Tolliver Enternational Holding Corp., represented by William McFarland, Michael Tolliver and
Vincent Tolliver, whose address is Pa. &X 6 7 &/MCM,            Lfi    71 2 2 /       ("Lessee"), hereby
agree, for good and valuable consideration, the receipt &d sufficiency of which are hereby acknowledged,
as follows:

    1.     Lessee agrees to pay Lessor a goodwill payment of seventy thousand dollars and no100
           ($70,000.00), $35,000 to be paid in cash at execution of this agreement and the d d e r to
           be paid in 2 installments of $17,500, the first being due on the 15" Day of Augusf 2005 and
           the second being due on the 15" day of September, 2005.


WITNESSES:


BY:                                                         BY:

                    ,.                              L      EPrint Name:
                                                                   s    S       O      R      :        o   .
BY:

WITNESSES:


BY:

WITNESSES:                                          LESSEE:


BY:



BY:

WITNESSES:


BY:
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STATE OF LOUISIANA
PARISH OF TERREBONNE
                                               LEASE AGREEMENT
                                                                                                          /
          THIS LEASE AGREEMENT (the "Lease") is made and entered into on the -day                     of &,      2005 by
                                 .
and between Hill Citv Oil Com~anv.                     .. cornoration. whose address is 1409 Dunn Streef Houma, LA
                                    .. Inc.. a Mississinni
70360 ("Lessor"); ani Tolliver ~nternatiknalHoldin ~ o r p represented
                                                                 ,           by William McFarland, ~ i c h a e ~olliver
                                                                                                               l       and
Vincent Tolliver, whose address is         86 &k a
                                               !6.      7 Y\?D?.,&~' I          LA 7Iu          1
("Lessee"), who for good and valuable consideratio~the receipt and sufficiency of which are hereby acknowledged, do hereby
agree as follows:
                                                      WITNESSETH
        WHEREAS, Lessee desires to operate a convenience store business ("Lessee's Store Operations") upon the Premises
at which location Lessee will exclusively sell Lessor's motor fuels on a consignment basis ("Lessee's Motor Fuel
Operations"). Collectively Lessee's Store Operations and Lessee's Motor Fuel Operations shall be referred to as "Lessee's
Business Operations"; and
           WHEREAS, Lessor currently engages in, among other things, the supply of branded and unbranded motor fuel for
retail sale to consumers ("Lessor's Motor Fuel Operations"); and
         WHEREAS, Lessee will derive substantial revenue and pmfits 6om Lessee's Store Operations, with Lessee's Store
Operations being separate, apart and distinct h m Lessee's Motor Fuel Operations and Lessor's Motor Fuel Operations
(hereinafter they shall collectively be referred to as "Motor Fuel Operations"); and
         NOW THEREFORE, for and in consideration of the mutual covenants herein, the parties agree to the following:
1. PREMISES.
    a.   Lessor hereby agrees to lease to Lessee that certain immovable property located at 1001 Broadway, Delhi,
         Louisiana , including but not limited to all buildings, improvements, storage tanks, dispensing facilities, fixhlres,
         appurtenances, and equipment located thereon (hereinafter individually and collectively referred to as the
         "Premises"), save and except the following:



    b.   Lessee hereby acknowledges that the Premises leased herein are received in good and safe conditions, and that
         Lessee is familiar with the safe operation of the same. During the term of this Lease, Lessee shall have the right to
         possess and use the Premises subject to its compliance with the conditions, obligations, and duties set forth herein
         and, further, subject to the rights of the Lessor provided herein or otherwise provided by law. Lessor expressly
         reserves and retains an unreshicted right and easementlservitude in and to the Premises for the purpose of
         installing, maintaining and servicing the Premises and to conduct periodic inspections of Motor Fuel Operations.
         However, this right shall in no way limit or exonerate Lessee 6om its obligation to completely maintain the
         Premises in a good and safe condition.
2. TERM O F LEASE. The initial term of this Lease shall be for ten (10) years (the "Primary Term"), beginning on the
   1" day after approval by the U.S. Bankruptcy Court (the "Effective Date"). The term of this Lease may be extended
   for one additional term of five (5) years ("Extended Term"), said extension, if applicable, to be at the monthly Rental
   hereafter set forth, and otherwise to be on the same terms, covenants, and conditions as herein provided.
3. AUTOMATIC EXTENSION. It is agreed that the Primary Term shall be automatically extended for the f m t
   Extended Term and the first Extended Term shall be automatically extended for the next Extended Term (as the case
   may be), unless on or before t h i i (30) days before the expiration of the Primary Term or respective Extended Term
   (as the case may be), either party provides to the other party written Notice of its intent not to automatically extend the
   term then in effect.
4. ANCILLARY CONTRACTS. The parties mutually acknowledge that, as checked-off below, they have entered into
   or are otherwise bound by the following additional ancillary agreements (sometimes collectively and individually
   referred to as "Ancillary Agreements") concurrently with the execution of this Lease. The terms of each Ancillary
   Agreement impose additional rights and duties on both the Lessor and Lessee. The terms and conditions of each
   Ancillary Agreement are incorporated herein and made a part hereof. Should there be any conflict between this Lease
   and the terms of any Ancillary Agreement, the terms of this Lease shall govern.
        Motor Fuel Sales Management Agreement with regard to consigned sale by Lessee of Lessor's motor fuel;
        Jubilee Proprieiary Mark Agreement with regard to the use by Lessee of intellectual property owned by Lessor in
        connection with Lessee's Business Operations and the marketing of Lessor's motor fuel;
        Lessee Goodwill Payment with regard to the payment of monies by a Lessee to Lessor, under either verbal or
        written agreement, for the benefit to Lessee's Business Operations;
        Additional Lease($ with regard to the Lessee leasing additional real estate andlor equipment by Lessor.
         Third Party Vendor Agreements with regard to thud party vendors that supply merchandise to Lessee's Store
        Operations, either under a verbal or written agreement, for evenhlal consumer retail sale.
              i. Imperial Trading
              ii. Coca-Cola
              iii. Mr. Freeze
              iv. Community Coffee
              v. ETM
              vi. Slow Melt Ice, Inc.
          Other:


                                                              I
Consigned LeaselPMPA not applicable
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5. RENT & MONTHLY CHARGES.
     a.   During the Principal Term of this Lease, Lessee shall pay rent for years 1 through 5 of $7,000.00 per month, which
          amount shall be increased by 7.5% for years 6 through 10 ("Rent"), all said Rent being payable in advance by
          Lessee to Lessor at P.O. Box 4036, Houma, LA 70361, on or before the fifth day of each month. Payment of
          Rent may be tendered by cash, ACH or draft. Lessee acknowledges that this Rent amount specifically
          contemplates the Lessee bearing expenses related to Lessee obligations relevant to this Lease or any Ancillary
          Agreements. The failure by Lessee to timely pay an Rent due shall subject such delinquent Rent to interest at a
          rate of one and one half percent (1 112 %)per month from the date due until paid.
     b.   During the fust Extended Term, the Rent for years 6 through 10 shall be increased by 7.5%.
     c.   In addition to the Rent, Lessee agrees to pay, and abide by all respective terms, conditions and obligations that
          apply in the following additional monthly fees andor charges with respect to various services, equipment,
          foodstuff, supplies and inventory supplied to Lessee's Store Operations:
                   Item:                                                               Monthly Charges:

          I.       Chevron EPOS                                                    $   299.00
          11.      Mr. Freeze                                                      $   259.00
          ...
          111.                                                                     $
          iv.                                                                      $
          V.                                                                       $

6.   USE O F PREMISES.
     a.   Lessee agrees to use the Premises solely for the purposes of (i) providing Motor Fuel Operations; (ii) Lessee's
          Store Operations; and (iii) other uses reasonably incidental thereto (collectively referred to herein as "Use"). It is
          expressly agreed that the Lessee shall neither use the Premises, nor conduct any activities upon the Premises, that
          will disrupt, interfere, or otherwise impair the consigned sale by Lessee of Lessor's motor fuel. This includes,
          without limitation, conducting activities that are hazardous to or threaten public safety, especially when done in
          close proximity to motor fuel products.
     c.   Lessor expressly reserves and retains an unrestricted easementlservitude in and to the Premises for the purposes of
          installing, maintaining, and servicing the Premises or any activity in furtherance of Motor Fuel Operations, as well
          to enter the Premises at any time for the purpose of taking any measurements or making any inspections or readings
          Lessor is entitled to or desires under this or any Ancillary Agreement. Lessee further acknowledges that Lessor
          retains the right to use appropriate signage, including the language to be contained thereon, and brand
          identifications on the Premises in connection with Motor Fuel Operations.
     d.   The parties acknowledge that Lessee's Business Operations is independent of and distinct 6om the Lessor's Motor
          Fuel Operations, which respective rights and obligations are more fully set forth in this Lease and Ancillary
          Agreements.
     d.   Lessee shall not place any buildings, signs or any permanent improvements on the Premises, or remove or make
          any alterations or changes to the Premises without the prior written permission of the Lessor. No obstructions to
          the entrances or exits, pump islands, or service areas of the Premises shall be allowed to exist whereby the public
          or delivery vehicles might be denied 6ee access to the facilities. No cars for sale, boats for sale, or motor homes
          shall be parked on the Premises, except for those belonging to customers currently hansacting business.
     e.   Lessee acknowledges and agrees that as of the Effective Date the Premises are in good order and condition.
          Lessee agrees, at its cost, to keep the entirety ofthe Premises in good repair and Lessee will not allow any injuries
          or damage thereto. Lessee fiuher agrees not to use, occupy or permit the use or occupancy of the Premises for
          any purpose which is forbidden by law, ordinance, or governmental or municipal regulation or order, or permit the
          maintenance of any public or private nuisance.
     f.   Lessee will not use or permit on the Premises anything that will invalidate the policies of insurance nor or
          hereafter canied on the Premises, or that will increase the rate of insurance on the Premises.
7. LESSEE'S MAINTENANCE, REPAIR & OPERATIONS OBLIGATIONS. Lessor and Lessee expressly
   acknowledge the mutual benefit from the efficient, businesslike operations of all permitted Uses conducted upon the
   Premises. To promote this mutual benefit, Lessee agrees to timely and fully perform the following at its sole cost and
   expense:
          a. Use its best efforts to diligently promote the sale of Lessor's motor fuel products and to purchase 6om Lessor
             any agreed minimum monthly amounts. This also includes Lessee using its best efforts to merchandise and
             market all products sold to it by Lessor. Lessee further agrees to keep the Premises open for business,
             properly illuminated, and adequately staffed by qualified personnel, twenty-four (24) hours per day, seven (7)
             days per week.
          b. Repair and maintain the building and restrooms in a clean, sanitary, adequately supplied and well-lit condition
             to meet all public health requirements.
          c. Aside from the canopy, and motor fuel equipment, motor fuel storage and dispensing equipment, make all
             srmctuml repairs, provide all major painting, and maintain all driveways, waste cans, paved areas, roofs and
             other surrounding areas on or around Premises in good working order, consistent with industry standards
             andor Brand standards, and free from dii and debris.
          d. Keep the general office area and other working areas of the Remises well-lit, organized and clean during all
             hours of operation.
          e. Repair and maintain the air conditioningheating ("HVAC") system of the Premises and any walk-in coolers.
             This also includes routine operation of the HVAC system to conbol in-store humidity levels, and ensure that
             in-store temperatures are consistent with industry practice and promote the image of all marks used in
             connection with Business Operations upon the Premises.
          f. Insure that all personnel employed by the Lessee are adequately supervised, mined, courteous, and neat in
             appearance so as to best serve the needs and desires of the motoring public.
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          g.    Maintain lighting (including yard lights) and signage (including hut not limited to motor fuel sales related
                signage and posting of fuel sale prices) with regard to Lessee's Store Operations, and Business Operations on
                the Premises in good working order, consistent with industry standards, and hee &om dirt and debris. Lessee
                However, Lessor shall be responsible for maintaining price product signs.
           h.   Retain the thud party professional services with regard to the cutting and maintenance of yards, lawns, trees
                and shrubs on or surrounding the Premises, unless otherwise agreed to by Lessor in writing.
          i.    Maintain all in-store equipment, including but not limited to walk-in coolers.
          j.    Maintain any car wash located upon the Premises, including but not limited to the furnishing of all chemicals,
                soaps and waxes related thereto.
           k.   Pay any monies due and to take all required action with respect to licensure, permitting or fees required in
                connection with Lessee's Store Operations and Lessee's Motor Fuel Operations.
           1.   Pay all state and local taxes assessed against Lessee's personal property on the Premises or against Lessee for
                the conduct of its business operations upon the Premises.
           m.   Pay all water, gas, elechicity, telephone, and any other utility charges of any sort relating to the Premises, the
                sale of Lessor's motor fuel, or Lessee's Business Operations. This includes establishing all utilities in the
                name of and with a billing address for Lessee or Lessee's agent.
           n.   Provide immediate notice to Lessor of any damage to the Premises caused by lire or other casualty.
           o.   Provide immediate notice to Lessor of any claims by retail consumers of Lessor's motor fuel with regard to an
                alleged vice, defect or variance in quality, in which case Lessee shall retain all records and documentation
                with regard to the allegations and which may prove or disprove such allegations.
           p.   Lessee shall promptly respond (in writing if requested by Lessor) to any inquiries or complaints received by
                 Lessor or Lessee in connection with Lessee's Motor Fuel Operations or Lessor's Motor Fuel Operations and
                take reasonable action to correct or satisfactorily resolve each such inquiry or complaint. If in Lessor's
                judgment Lessee fails to adequately respond to and correct or resolve customer inquiries or complaints, Lessor
                shall have the right but not the obligation to resolve such matters directly with customer, at Lessee's expense.
           q.    Any Rent and monies due hereunder by Lessee, if unpaid, shall be assessed a monthly interest of one half
                 percent (I 'I2%)per month until paid.
           r.    Unless otherwise provided for herein, remit to Lessor all receipts and documentation with respect to Lessee's
                 Business Operations as requested by Lessor within the time h e specified by Lessor.
           s.    For the purpose of quality control and preserving Lessor's Proprietary Mark, Lessee agrees during the Term
                 of this Lease and an extensions thereof to exclusively purchase merchandise, inventory, and supplies
                 customarily sold at convenient stores 6om vendon selected by Lessor and pursuant to the terms and
                 conditions of agreements between HCO and said vendors, as amended 6om time-to-time, and at prices that
                 are reasonable and consistent with customary, industry mark-up rates.
8.   LESSOR'S REPAIR. MAINTENANCE & OPERATIONS OBLIGATIONS. Lessor agrees to timely and fully
     perform the following at its sole cost and expense:
           a. Repair and maintain the canopy and all motor fuel equipment, storage and dispensing equipment in good and
              operable condition, unless such damage is due to the negligence of Lessee or Lessee's employees.
           b. Maintain price product signs.
           c. Pay the costs of any license fee necessary for the operation of Lessor's Motor Fuel Operations.
           d. Pay all taxes assessed against the Lessor's Motor Fuel Operations.
9.   TAXES. With regard to taxes that may be assessed during the Primary Term or any Extended Term of this Lease, with
     regard to the land, or any improvements made to it, ad valorem taxes, or any of Lessor's equipment situated, located or
     affixed to the Premises ("Taxes"), Lessor and Lessee agree that payment of the Taxes shall be prorated with Lessor
     paying twenty-five percent (25%) and Lessee paying seventy-five percent (75%). Lessor shall present to Lessee at
     least annually with a statement of Taxes, which sum shall he paid within ten (10) days of Lessee's receipt. If the
     Lease's Effective Date or termination date is a day other than January 1, the amount of Taxes shall be prorated based
     on the number of days in such year prior to the Effective Date or termination date and the number of days after the
     Effective Date or termination date.
10. BRAND IDENTrnCATION.
           a. Lessee acknowledges and agrees that Lessor retains exclusive discretion with regard to the branding of motor
              fuel marketed upon the Premises or othetwise sold as pan of Motor Fuel Operations.
           b. Lessor retains exclusive discretion with regard to the painting design and colors applied to the buildings,
              srmctures, equipment, or fixtures located on or affixed to the Premises, and Lessee agrees that it shall not
              changed same without the prior written consent of Lessor.
           c. Lessee acknowledges that Lessor may participate in an image program in connection with brand motor fuel
              sold as part of Motor Fuel Operations upon the Premises. Lessee agrees to maintain the Premises under the
              guidelines set forth in said branded program. Included under the guidelines, as set forth by Lessor's supplier,
              the Lessee and Lessee's employees hereby agree to wear the supplier's nationally approved uniform and to
              participate in supplier's branded promotions at Lessee's expense, as these promotions become available.
           d. Within ten (10) days of receipt, Lessee expressly agrees to display all Branded POS signs, displays and bade
              dress, and at the same time to remove all out-of-date signs, displays and bade dress that is being replaced.
I I. IMPROVEMENTS. It is specifically understood and agreed that Lessor reserves the right to make improvements to
     the location, including the replacement andlor renovation of the pumps and canopy, and Lessee acknowledges that such
     renovations or improvements may tempolarily cause a cessation of motor fuel sales, and may tempolarily impede the
     Use of the all or a portion of the Premises. In such event, Lessee shall not be entitled to any compensation fiom
     Lessor.
12. INSURANCE.
     a.    Insurance Maintained bv Lessee. Lessor and Lessee acknowledge their separate insurable interests relating to
           their independent business operations located on the Premises. For this reafon, Lessee shall maintain in full force
           and effecion and after the ~ffectiveDate the following insurance:



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         i.     Insurance on personal property, equipment and inventory located on the Premises owned or leased by Lessee
                or Lessor or which pertains to Lessee's Business or where Lessee is acting in a bailee or trustee capacity with
                coverage for the full replacement value.
         ii.    Insurance on the Premises for its full insurable value against loss or damage by all perils covered by an "all
                risks" insurance policy of the type generally available, provided that if such an all risks insurance policy is not
                generally available, then Lessee shall maintain insurance on the Premises against loss or damage by fire and
                against loss or damage by any other risk now and from time to time insured against by "extended coverage"
                provisions of policies generally available.
         iii.   Comprehensive general liability insurance, with limits of not less than $I million with respect to bodily injury
                or death to any number of persons in any one accident or occurrence and $1 million with respect to property
                damage in any one accident or occurrence.
         iv.    Environmental pollution casualty and liability coverage with limits of not less than $1 million per event or
                occurrence and $1 million with respect to property damage in any one accident or occurrence.
         v.     Business interruption insurance with coverage for at least six (6) months of Rent.
         v.     Worker's compensation insurance covering all persons employed by Lessee for such work and with respect to
                whom death or bodily injury claims could be asserted against Lessee, Lessor or the Premises.
         vi.    To the extent the Premises are located in a special flood hazard Zone A, insurance against flood, such
                insurance to be not less than 100% of the full replacement cost of the Premises or the maximum amount
                available, whichever is greater.
         Each of the insurance policies referred to in this Section shall provide (if such provision is obtainable) that it shall
         not be canceled or its coverage reduced without at least thirty (30) days prior winen notice to Lessor and Lessee.
         In addition, each liability insurance policy referred to in this Section shall name Lessor as an additional assured,
         and each property insurance policy referred to in this Section shall contain (if such provisions are obtainable)
         waiver of subrogation provisions pursuant to which the insurer waives all express and implied rights of
         subrogation against Lessor. All insurance required of Lessee pursuant to this Section shall be original paid-up
         insurance policies and shall be issued by companies authorized to conduct business in the state of Louisiana and
         having a Best Insurance Guide rating of A- or higher. For all insurance policies referred to in this Section, Lessee
         shall name Lessor as a named additional assured and provide Lessor with a certificate evidencing coverage.
   b.    Subroeation. Lessee shall make no claim for recovery against Lessor and expressly waives its right of recovery
         for damage to or loss of the Premises and contents therein, when such damage or loss may arise by fire or any
         other peril covered by any policy of insurance in which Lessee is or may be the assured and when said loss is
         caused by or results from any acts of carelessness or negligence of Lessee, its agents, employees or persons under
         Lessee's control
13. INDEMNITY.
   a.  Lessee agrees to defend, indemnify, and hold Lessor harmless from any and all claims, demands, suits, actions,
       judgments, and recoveries for or on account of damage of the property, or injury or death to the person of Lessee,
       Lessee's employees, servants, agents, licensees, invitees, or other persons, firms, or corporation caused by or due
       to the condition of the Premises, including the motor fuel islands and adjacent areas, or the operation of all
        business activities conducted on the Premises, if such losses, damages, or injuries are allegedly to have been
       proximately caused by the negligence of Lessee or Lessee's agents or employees. This obligation shall be in
       addition to the insurance obligations of the Lessee set forth above.
    b. With respect to acts, omissions or occurrences during the Primary Term (or any Extended Term) of this Lease,
        Lessee will be solely responsible for and shall defend, indemnify and hold harmless Lessor (its affiliates and its
        and their respective officers, directors, employees, shareholders, agents, and representatives) 6om and against all
        claims, liabilities, obligations, losses, damages, assessments, penalties, judgments, costs, response costs, removal
        costs, costs of investigation, monitoring costs, remediation costs, or expenses (including without limitation legal
        expenses, Litigation Expenses, consulting and expert fees and expenses and any other fees and costs incurred in
        investigating, preparing, defending or prosecuting any litigation, claim, action, notice, suit, proceeding or demand)
        of whatever kind or nature, known or unknown, contingent or otherwise, arising out of or in any way connected
        with or athibutable to: (1) the presence, disposal, release, or threatened release 6om or on the Premises of any
        Hazardous Material, the presence of which has been permitted by Lessee; (2) any personal injury (including death)
        or property damage (real or personal) arising out of or related to any Hazardous Material from or on the Premises
        the presence of which has been permitted by Lessee; (3) any lawsuit brought or threatened, settlement reached, or
        government order, investigation or action relating to any Hazardous Materials 6om or on the Premises the
        presence of which has been permitted by Lessee; (4) any violation of any laws applicable to Hazardous Materials
        6om or on the Premises the presence of which has been permitted by Lessee; (5) any environmental damage
        caused by Hazardous Material from or on the Premises the presence of which has been permitted by Lessee; and
        (6) Lessee's breach of its obligations in this Lease with regard to compliance with environmental laws and
        regulations. If any action or proceeding is brought against Lessor by reason of any such claim or loss for which
        Lessee has agreed to indemnify Lessor, Lessor will immediately give notice to Lessee, and Lessee will defend the
        same at Lessee's expense, with counsel of Lessee's choice and reasonably acceptable to Lessor. Lessee's
        obligation under this Section shall be in addition to any other obligations and liabilities of Lessee under this Lease,
        and shall survive the expiration or the termination of this Lease.
14. SECURITY DEPOSIT. Lessor hereby acknowledges receipt from Lessee of the sum of one month Rent which shall
    be held as security by Lessee for the faithful performance by Lessee of all its obligations hereunder. In the event
    Lessee fails in any way to perform hereunder, Lessor shall have the right to apply such security to such default, consent
    to which application Lessee confirms by its execution of this Lease. Funds held by Lessor as security may be co-
    mingled with Lessor's other funds and shall not be interest bearing.
15. LESSOR'S LIEN PRIVILEGE & SECURITY INTEREST. Lessor shall have a statutory lien or privilege and, in
    addition, Lessee hereby gives to Lessor an express lien and security interest upon all of Lessee's property, inventory
    and accounts receivable now or at any time hereafter placed in or upon the Premises ("Security"), to secure the prompt
    payment of the Rent and all other charges and obligations stipulated provided herein, all exemptions of such property,
    or any of it, being waived. Additionally, at Lessor's request a! any time during this Lease, Lessee shall execute and

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          deliver to Lessor a security agreement, financing statement, or other document as Lessor may specify to establish or
          perfect Lessor's security interest in the Security.
      16. LIOUIDATED DAMAGES. Lessee speeifieally agrees that in the event that Lessee should breaeh any of the terms
          of the following subseetions of this Lease:
                 Sections 7(e), 7(e), 7(g), 7@), 7(i) and/or 76).
          Lessor would suffer harm whieh would be diffieult if not impossible to quantify. It is therefore specifically agreed by
          Lessee that Lessor is entitled to have and recover any and all actual damages related thereto but in no case less than the
          liquidated damage of $25.00 per day per violation by Lessee. Lessee acknowledges that the foregoing amount is a
          conservative, reasonable estimate of the damages that would be suffered as a result of the breach of Lessee's covenants
          made in the subsections enumerated herein.
      17. OPTIONS. To the extent that any of the following are checked-off and initialed by both parties, the following options
          and rights shall exist.
                          Option to Purchase Inventom. Furniture, Fixtures upon Termination. Upon the termination of this
                          Lease, for any cause whatsoever, be it the expiration of the Primary Term or an Extended Term, Lessor
                          shall have the option of purchasing all or any portion of Lessee's furniture, fixtures, equipment, and
                          inventory situated upon the Premises, which option may be exercised by Lessor by giving written notice
                          to Lessee no later than sixty (60) days following the Effective Date of Termination of the Lease. In the
      Initials            event Lessor and Lessee shall be unable to agree upon the fair market value of Lessee's furniture,
                          fixtures, inventory and equipment, then each shall select an appraiser of his choosing, and the two
                          appraisers thus selected, unless they agree among themselves to a value, shall select a third appraiser,
                          and a majority of the three appraisers shall determine the fair market value. Each party shall bear the
      Lessee's            costs and expenses of the appraiser selected by him, and the parties shall each bear one-half (112) of the
\@J   a
      Initials            costs and expenses of the third appraiser. The purchase price shall be paid by Lessor to Lessee within
                          thirty (30) days of the determination of said price, as provided herein, provided however, that Lessor
                          retains the right to deduct and/or offset kom said purchase price any Rent or monies owed by Lessee
                          hereunder. The parties specially recognize that any going concern value or goodwill attached to the
                          business conducted on the Premises is attributable to Lessor's brand name and trade name and, therefore,
                          no consideration will be due and owing by Lessor to Lessee in the event this option to purchase is
                          exercised for any such going concern value or goodwill. Both parties also a p e there shall be no other
                          payments due from Lessor to Lessee at termination.
                          Option to Purchase Premises. In consideration of $1.00 cash in hand paid to Lessor, the receipt and
                          sufficiency of which is hereby acknowledged by Lessor, Lessor hereby agrees that it shall not sell,


      as                  transfer or otherwise convey all or any portion of its interest in the Premises without fust offering to sell




v-";
                          the Premises to Lessee on the same terms and conditions. Lessor shall notify Lessee of all the terms and
                          provisions, and shall offer to sell the Premises on the same terms. Lessee shall have a period of twenty
                          (20) days from the date of its receipt of the written notice 6om Lessor to accept such offer on the
                          same terms, provisions and conditions stated in such written notice, which acceptance must be in
                          writing and be received by Landlord prior to the expiration of such period. The closing of a purchase by
                          Lessor of the Premises shall be held at the time and place specified in the wrinen notice from Lessor, or
      Initials            such earlier date as is specified by Lessee, but in no event later than sixty (60) days after the receipt by
                          Lessee of the written notice kom Lessor. In the event Lessee rejects or fails to properly accept the offer
                          made by Lessor, Lessor shall be 6ee to sell, transfer, assign or convey the Premises to such thud party on
                          substantially the same terms, provisions and conditions set forth in its notice to Lessor. Notwithstanding
                          the foregoing, no Lessee option to purchase premises shall exist in circumstances involving Lessor chain
                          sales, which shall mean the sale by Lessor or three (3) or more pieces of immovable property used in
                          comection with Lessor's Motor Fuel Operations.
      18. VIDEO GAMING & GAMBLING. All rights to apply for and to receive a video gaming license and/or other state
          permit or license necessary to conduct gambling on the Premises, as well as all rights with respect to video gaming and
          gambling revenue are expressly reserved to Lessor. Lessee hereby agrees not to act in any manner inconsistent with
          said rights and shall take all action necessary to cooperate and further said rights, as requested from time-to-time by
          Lessor.

      19. PRO-RATED REFUND O F GOODWILL PAYMENTS. In the event that goodwill monies were paid by the
          Lessee to Lessor in return for benefits to Lessee's Business Operations ("Goodwill Payments"), then Lessor shall be
          required to refund said monies in the following circumstances. If Lessor elects to sell the Premises during the Primary
          Term or any Extended Term and Lessee elects not to exercise its right to purchase the Premises (if such option is
          checked off and initialed in Section 17 above), then Lessor agrees to refund to Lessee, on an amortized basis, any
          Goodwill Payments paid by Lessee. The amortized amount refunded to the Lessee shall be calculated by taking the
          total amount paid by Lessee, dividing it by the number of years in the Primary Term of the Lease, then multiplying that
          figure by the number of years left in the Primary Term of the Lease (exclude any fractional years). For example, if the
          Lessee paid $50,000 in Goodwill Payments to Lessor, the Primary Term of the Lease is 5 years, and the date the
          Premises are sold is 2 !4 years into the Primary Term, then the Lessor must refund $20,000 to the Lessee (i.e., $50,000
          + 5 years x 2 years). No Goodwill Payments shall be otherwise due by Lessor to Lessee in the event that termination
          of the Lease is due to any DefauIt by Lessee under the Lease.
      20. DEFAULTS. Each of the following shall constitute an event of default ("Default"):
                 a. The Lessor or Lessee fail to keep, perform, observe andor comply with any promise, covenaa term,
                    condition and obligation under this Lease or any Ancillary Agreement;
                 b. The Lessee becomes insolvent, or shall take the benefit of any present or future insolvency statute, makes a
                    general assignment for the benefit of creditors, consents to the appointment of a receiver, trustee, or liquidator
                    of all or substantially all of its property, or files a petition in b a n h p t c y or is adjudged bankrupt.
                 c. The Lessee fails to timely pay any Rent or monies hereunder, when due;
                 d. The termination by either party or both parties of any Ancillary Agreement, in which case this Lease shall also
                    terminate upon the same terms and the same time;
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         e.   The Lessee assigns or subleases this Lease without the prior express written permission of Lessor;
         f.   Upon the death or interdiction of Lessee;
         g.   Upon the loss of any liquor or tobacco license held by the Lessee, or the inability of Lessee to sell alcoholic or
              tobacco products, with respect to Lessee's Store Operations.

21. TERMINATION. Upon an event constituting a Default, and such Default continues uncured for a period of five (5)
    days after written notice of such Default, then:
         a.   If the Lessee is the party in Default, then the Lessor may, at its option to choose all or just one of the
              following:
              i.   Recover any delinquent Rent, monies or payments due under this Lease or Ancillary Agreement, together
                   with all interest due thereon, which shall include but not be limited to offsetting Rent and/or monies due
                   without notice thereof and offsetting by ACH or otherwise monies, commissions or amounts payable by
                   Lessor to Lessee under this Lease or Ancillary Agreement;
              ii. Correct or resolve an event of Default, including but limited to entering the Premises and making repairs
                   or corrections necessary to maintain the Premises, in which event Lessor retains the option of debiting the
                   security furnished by Lessee hereunder or collecting the costs to cure kom the Lessee;
              iii. Terminate this Lease, in which event Lessee shall immediately surrender the Premises to Lessor and
                   Lessor shall be entitled to enter upon, take possession of the Premises, and expel or othe~wiseremove
                   Lessee there6om, all without further notice or demand. This right shall also include the right of Lessor to
                   have and recover all of damages and losses to Lessor arising out of the Default kom the Lessee. If after
                   termination of the Lease, Lessee holds over without the express written consent of Lessor, such holding
                   over shall be deemed a tenancy at sufferance, and Lessor shall be entitled to receive three (3) times the
                   normal Rents as liquidated damages. Furthermore, Lessee shall be liable and shall pay to Lessor any
                   costs to remove and/or store Lessee or other occupant's property.
              iv. Seek any other appropriate legal or equitable remedy, including but not limited to injunctive relief,
                   specific performance or damages.
22. CONDITIONS O F PREMISES UPON TERMINATION. Lessee shall leave the Premises in the same condition as
    it was at the commencement of the Lease or in the same condition to which it was brought by the efforts of the Lessor
    after commencement of this Lease, except for normal wear and tear damage or destruction not caused by Lessee's
    negligent or willful acts or omissions.
23. NOTICES. Any notice required hereunder ("Notice") shall be in writing and shall be deemed served to the other party
    either when personally delivered to the other party, or when mailed via certified mail to the other party at the address
    first set forth herein above, unless a more recent address has been received.
24. COMPLIANCE WITH LAWS & REGULATIONS.
    a.    General Laws & Regulations: Lessee shall comply fully and require Lessee's Motor Fuel Operations to comply
          fully with all applicable laws, regulations, judicial and administrative orders, and guidelines of any governmental
          authority, including without limitation (a) those regulations regarding the availability of Material Safety Data Sheets,
          as located in Title 29, Code of Federal Regulations, Sections 1903.2, 1910.103, 1910.106, 1910.120 and 1910.1200;
          @) all requirements of the American with Disabilities Act, 42 U.S.C. 12101 et seq, and the regulations promulgated
          thereunder; (c) the requirements of the Occupational Safety and Health Act, 29 U.S.C. Section 651 et seq, and the
          regulations promulgated thereunder; and (d) the Clean Air Act, 42 U.S.C. Section 7401 et seq, and the regulations
          promulgated thereunder.
    b. Environmental Laws & Regulations:
        i.     Lessee must notify Lessor of any notices by or actual actions by the DEQ, EPA or any State or Federal agency
               ("Agencies") with regard to inspections, required reports, and other activity. Lessee must furnish to Lessor
               copies of all inspections, reports and other written correspondence with or notification by Agencies. To the
               extent that the Lessee fails to comply with this Section 23, Lessee shall be responsible for any fines, costs and
               penalties for its failure to respond or timely act
       ii.     Lessee expressly acknowledges that it is the sole operator of the Motor Fuel Operations conducted on the
               Premises, and has full responsibility for the operation of the underground motor fuel storage tanks, piping
               system and motor fuel pumping equipment.
      iii.     Lessee shall not cause or permit any Hazardous Material, as hereinafter defined, to be brought upon, kept, or
               used in or about the Leased Premises, except for such Hazardous Material as is necessary or useful to Motor
               Fuel Operations and, even then, in a manner that is consistent with federal, state and local law ("Legal
               Requirements"). Lessee expressly affums, warrants and agrees that it shall take no action that is inconsistent
               with the Environmental Protection Act, and, more specifically, with the regulations governing the storage,
               dispensing and sale, of unleaded gasoline.
      iv.      Lessee further warrants and represents that it shall comply with all Legal Requirements and that any
               Hazardous Material brought upon, kept or used by Lessee on the Premises, and all containers therefore or
               residues thereof, shall be used, kept, stored, transported and disposed of in a manner that complies with all
               Legal Requirements.
       v.      Lessee shall not discharge, release, leak, or emit, or permit to be discharged, released, leaked, or emitted, any
               Hazardous Material into any buildings, parking areas, common areas, atmosphere, ground, groundwater,
               sewer or drainage system of the Premises, or any body of water, if that material (as is reasonably determined
               by Lessor, or any governmental authority) pollutes or contaminates the same, adversely affects (1) the health,
               welfare, or safety of persons, whether located on the Premises or elsewhere, or (2) the condition, use, or
               enjoyment of the Leased Premises, or any other real or personal property, or if the discharge, release, leak or
               emission would violate or be prohibited by any Legal Requirement.
      vi.      Lessee shall disclose to Lessor, to the extent and in the same manner that Lessee is required to make such
               disclosures by applicable Legal Requirements and as Lessor shall reasonably request in writing 6om time to
               time, the names and approximate amounts of all Hazardous Materials that Lessee intends to store, use, or
               otherwise allow to remain on the Leased Premises together with the operating procedures and method of
               handling, storing, transporting, using and disposing of such Hazardous Materials listed.

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    vii.     Should Lessee fail to perform or observe any of its obligations or agreements pertaining to Hazardous
             Materials under this Lease or under applicable Legal Requirements pertaining to the Premises and such failure
             continues after notice by Lessor to Lessee, then Lessor shall have the right, but not the duty, without
             limitation upon any of the rights of Lessor under this Lease, to enter the Premises and perform the same at
             Lessee's cost. In no event shall this clause relieve Lessee of any liability with regard to liability for all costs,
             fines and expenses related to Lessee's action or inaction under this Agreement.
   viii.     Lessee hereby agrees that it shall be fully liable for all costs and expenses related to the presence, use, storage,
             or disposal of Hazardous Material permitted by Lessee to be located in or about the Premises, and Lessee will
             be solely responsible and shall give immediate notice to Lessor of any violation or potential violation of the
             provisions of this Section. The provisions of this Section shall be in addition to any other obligations and
             liabilities Lessee may have to Lessor, at law or equity, and shall survive the expiration or other termination of
             this Lease.
    ix.      "Hazardous Material" includes any substance:
             A. The use, storage, handling, disposal or presence of which requires a permit, authorization, approval,
                   investigation or remediation under any federal, state or local statute, regulation, ordinance, order, action,
                   policy or common law; or
             B. Which is or becomes defined as any (i) "hazardous substance," 'pollutants," or "contaminant" (as defined
                   in Sections 101(14) and (33) of CERCLA or the regulations issued pursuant to Section 102 of CERCLA
                   and found at 40 C.F.R. §302), including any element, compound, mixture, solution, or substance tKat is or
                   may be designated pursuant to Section 102 or CERCLA; (ii) substance that is or may be designated
                   pursuant to Section 3 11@)(2)(A) of the Federal Water Pollution Coneol Act, as amended (33 U.S.C. $8
                   1251,1321@)(2)(A)) C'FWPCA"); (iii) hazardous waste having the characteristics identified under or
                   listed pursuant to Section 3001 of the Resource Conservation and Recovery Act, as amended (42 U.S.C.
                   $5 6901,6921) ("RCRA") or having characteristics that may subsequently be considered under RCRA to
                   constitute a hazardous waste; (iv) substance containing petroleum, as that term is defined in Section
                   9001(8) of RCRA; (v) toxic pollutant that is or may be listed under Section 307(a) of FWPCA; (vi)
                   hazardous air pollutant that is or may be listed under Section 112 of Clean Air Act, as amended (42
                   U.S.C. $5 7401,7412); (vii) imminently hazardous chemical substance or mixture with respect to which
                   action has been or may be taken pursuant to Section 7 of the Toxic Substances Control Act, as amended
                   (15 U.S.C. 55 2601,2606); (viii) source, special nuclear, or by-product material as defined by the Atomic
                   Energy Act of 1954, as amended (42 U.S.C. 8 201 1 et seq.); (ix) asbestos, asbestos-containing material,
                   or urea formaldehyde or material that contains it; (x) waste oil and other peeoleum products; and (xii)
                   any other toxic materials, contaminants, or hazardous substances or wastes pursuant to any Legal
                   Requirement.
              C. Which is toxic, explosive, corrosive, flammable, infectious, radioactive, carcinogenic, mutagenic, or
                   otherwise dangerous to human health or the environment and is or becomes regulated by any
                   governmental authority, agency, department, commission, board, agency or instrumentality of the United
                   States, the State of Louisiana or any political subdivision thereof.
          x. "Legal Requirements" means all laws, statutes, codes, acts, ordinances, orders, judgments, decrees,
              injunctions, rules, regulations (proposed or promulgated), permits, licenses, certificates, authorizations,
              resliictions and requirements of all governmental departments, commissions, boards, courts, authorities,
              agencies, officials and officers, foreseen or unforeseen, ordinary or extraordinary, which now or at any time
              hereafter are applicable to the Premises or Motor Fuel Operations, or any use or condition of the Premises or
              Motor Fuel Operations, including without limitation, all applicable building codes and zoning requirements.
         xi. "Litigation Expenses" means and includes, among other things, all of the following arising as a result of
              default: (a) legal expenses; @)accounting expenses; (c) expert expenses; and (d) all court costs and expenses.
   g.      CONFLICT O F INTEREST. During the Primary Term and any Extended Term of this Lease, Lessee agrees to
           immediately notify Lessor to the extent that it obtains, directly or indirectly, an ownership or financial interest in
           any business operation or business entity that engages in the retail sale of motor fuel in the state within which the
           Premises are located or that otherwise competes with Lessor with respect to Lessor's Motor Fuel Operations.
   h.      MISCELLANEOUS.
        a.    Ouiet Eniovment Provided Lessee complies with all terms, conditions, and obligations hereunder, Lessee
              shall quietly have, hold and enjoy Use of the Premises.
        b.    Cumulative Riebts. The remedies of both parties hereunder shall be deemed cumulative and no remedy of
              either party, whether exercised or not, shall be deemed to be in exclusion of any other.
        c.    No Waiver. Lessee agrees that in the performance of this Lease and the terms, covenant, and conditions
              hereunder, time shall be of the essence and that Lessor's acceptance of partial or delinquent payments or
              performance hereunder, or failure by Lessor to exercise any right or remedy shall not constitute a waiver of any
              obligation or performance of Lessee or right of Lessor or a waiver of any other similar or subsequent default or
              failure.
        d.    Assienment & Sublettine, Lessor reserves the right to assign this Lease without the consent of the Lessee.
              Lessee may not assign this Lease and may not in any way sublease the Premises without the prior express
              written consent of the Lessor. This Lease shall be binding upon the heirs, successors and assigns of the parties.
        e.    Attornevs'Fees and Expenses In the event Lessor shall be required to discharge any obligation of Lessee
              required hereunder, pay any taxes, liens, interest, or pay for any repairs, maintenance, upkeep or other debt or
              obligation of Lessee required hereunder, or shall be required to expend sums for the enforcement of this Lease
              or protection of Lessee's rights created by this Lease, or take such further action deemed by the Lessor
              necessary to protect the Premises and Lessor's interest therein, Lessor shall be entitled to reimbursement for all
              sums so expended including, but not limited to, attorney's fees (including costs of legal assistants) and court
              costs. All sums so expended shall bear interest kom the date of payment at a rate of one half percent (1 '12%)
              per month.
         f.   No Aeeocv Relationship. Nothing contained in this Lease is intended or shall be consbued as reserving or
              granting to Lessor any right to exercise coneol over or to direct the conduct or management of Lessee's
              business conducted on the Premises. To the contrary, the entire control and direction of Lessee's business
              operations shall be vested in the Lessee. Lessee shall have no authority to contract for Lessor or make any
              commitment whatsoever in the name of or on behalf of Lessor. The relationship between Lessor and any of
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              Lessee's employees, agents, customers, visitors, invitees, guests, contractors, subcontractors, licensees, or any
              other person@) whomsoever, in connection with this Lease is that of independent contracting parties, and is
              not, and shall not be deemed to be, any other relationship, including without limitation that of joint venhuers,
              pariners, or principal-agents.
        g.    Severabilitv. If, for any reason, any provision in this Lease shall not be authorized by law or shall be deemed
              void for public policy reasons or otherwise, then that provision shall be severable h m the remaining provision
              which shall continue in full force and effect.
        h.    Entire Apreement This Lease represents the entire agreement between the parties and cancels and supersedes
              any previous agreements for the lease of the Premises between the parties. Any and all amendments and
              modifications to same shall be in writing and executed by both parties.
        i.    Counterparts. This Lease may be executed in one or more counterparts, each of which when so executed shall be
              deemed to be an original, and all of which together shall constitute one and the same insbument.
        j.    Governing Law. This Lease shall be deemed to be negotiated, executed and performed under the laws of the State
              first mentioned hereinabove and all disputes related to this Lease, whether past, present or future, shall be governed
              by and consmed under said laws.
        k.    Interpretation. Should any provision of this Lease require judicial interpretation, Lessor and Lessee hereby agree
              and stipulate that the c o w interpreting or considering same shall w t apply the presumption that the terms hereof
              shall be more shictly construed against a party by reason of any rule or conclusion that a document should be
              consmed more strictly against the party who itself or through its agent prepared the same, it being agreed that all
              parties hereto have participated in the prepamtion of this Lease and that each party had full opportunity to consult
              legal counsel of its choice before the extxution of this Lease.
        1.    Headines The section headings contained in this Lease are for convenience only and shall not enlarge or limit the
              scope or meaning of the various and several sections hereof. Words in the singular number shall be held to include
              the plural, unless the context otherwise requires.
        m.    Authoritv to Contract Each party hereto wanants, represents and covenants that it has full, unfettered legal
              right, power and authority to execute and deliver this Lease.
        n.    Eminent Domain. If the whole or any part necessary for Motor Fuel Operations upon the Premises shall be
              acquired or condemned by eminent domain for any public or quasi-public purpose, then the Lease shall cease
              and terminate as of the date of title vesting in such proceeding and all Rent shall be paid up to that date and
              Lessee shall have no claim against Lessor for the value of any unexpired term of this Lease. In the event of
              any condemnation or taking as herein provided, whether whole or partial, the Lessee shall not be entitled to any
              part of the award, as damages or otherwise.
        o.    Force Maieur. Lessor shall not be liable to Lessee for compensation, loss or damage due to any delay or failure
              by Lessor to furnish motor fuel with respect to Motor Fuel Operations due to (i) compliance with any order,
              request or control of any governmental authority or person purporting to act therefore; (ii) when the supply or
              products or any facility or production, manufacture, storage, transporlation, dishibution or deliver contemplated
              by Lessor is intempted unavailable or inadequate because of wars, hostility, public disorders, acts or enemies;
              (iii) sabotage, strike, walkouts, labor or employment difficulties, tires, floods, acts of God, accidents or
              breakdowns, plant shutdowns for repairs, maintenance or inspection, weather conditions, or temporary cessation
              of Lessor's Motor Fuel Operations due to remodeling or renovation or any case beyond its control, whether or not
              similar to any of the foregoing.
         p.   Discbarge dr Liens. Withrespect to all consmction approved in advance by Lessor, lmssee shall promptly
              pay all its contractors and materialmen, so as to minimi7~the possibility of a lien attaching to the Premises, and
              sh&ld any such lien be made or filed, Lessee shall bond against or discharge the same-withim ten (10) days
              after written request by Lessor.
         q.   Estoppel Certificate. Lessee agrees that within ten (10) days of being requested to do so by Lessor, any
              mortgagee or proposed mortgagee, it will execute and deliver to such party requesting same an estoppel
              certificate identifying this Lease and acknowledging the status of this Lease and the performance of Lessor's
              obligations under this Lease as of the date of such estoppel certificate.
         r.   Limitation of Damaees. Unless expressly provided for herein, neither party hereto shall he liable for any
               indirect, special, incidental, consequential or punitive damages whether under tort, conmct strict liability,
              statute or otherwise.

  ALL PARTIES ACKNOWLEDGE THAT THIS AGREEMENT IS SUBJECT T O APPROVAL O F THE U.S.
  BANKRUPTCY COURT AS PART O F HILL CITY OIL COMPANY, INC.3 CHAPTER 11 BANKRUPTCY.
 THE AGREEMENT WILL BECOME EFFECTIVE WHEN AUTHORIZED BY THE BANKRUPTCY COURT.
      THUS DONE AND SIGNED in the presence of the undersigned competent witnesses after due reading of the whole
                                             executed pursuant to the appropriate authority duly given on the date


                                                                                A



By:                                                                           ,




                                                          ::sypj
                                                          Print Name:
        Hill City Oil Company, Inc.




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                                                          Print Name
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 STATE OF LOUISLANA
 PARISH OF EAST BATON ROUGE

                           MOTOR FUEL SALES MANAGEMENT AGREEMENT
          THIS M O T 0 3 FUEL SALES MANAGEMENT AGREEMENT, ("Agreement") is made and entered into on
 the  /9-fL,  day of                        20&      ("Effective Date") by and behveen Hill City Oil Company, Inc., a
 Mississippi corporation, whose address is 1409 Dunn Street, Houma, LA 70360 ("Marketer"); and Tolliver Enternational
 Holding Corp., represented by William McFarland, Michael Tolliver and Vincent Tolliver,, whose address is
Po.  $W 67 /?%k'Ir'&k            ,h
                              7rq("~ealer"),     who for good and valuable consideration, the receipt and sufficiency of which
 are hereby acknowledged, do hereby agree as follows:

                                                           WITNESSETH
           WHEREAS, Dealer operates a convenience store business, including retail consumer sales, rentals and senices
 ("Dealer's Store Operations") located at 1001 Broadway, Delhi, Louisiana , (the "Premises"), at which location Dealer will
 sell Distributor's motor fuels on a non-consignment basis ("Dealer's Motor Fuel Operations"). Collectively Dealer's Store
 Operations and Dealer's Motor Fuel Operations shall be referred to as "Dealer's Business Operations"; and
            WHEREAS, Disbibutor currently engages in, among other things, the supply of branded and unbranded motor fuel
 for retail sale to consumers ("Distributor's Motor Fuel Operations"); and
          WHEREAS, Dealer derives substantial revenue and profits 6om its Dealer's Store Operations, with such operations
 being separate, apart and distinct %om Dealer's Motor Fuel Operations and Dishibutor's Motor Fuel Operations; and
           WHEREAS, Dealer wishes to purchase from Dishibutor and Dishibutor wishes to exclusively sell to Dealer motor
 fuel, which will be resold by Dealer to for retail consumer use; and
           WHEREAS, Dealer desires to assume all risk and uncertainty with regard to Dealer's Business OpemTions; and
          WHEREAS, the parties desire for Dealer to retain ultimate operation and control of the retail sales of motor fuels
 upon the Premises (both with respect to Dealer's Motor Fuel Operations and Distributor's Motor Fuel Operations, which
 hereinafier shall be collectively referred to as "Motor Fuel Operations") with Dealer retaining the risks of such operation and
 with Dealer supervising Motor Fuel Operations and performing other day-tday operational senices merely incidental thereto,
 under the terms and conditions specified herein; and
          WHEREAS, in recognition of the mutual benefits to be obtained 60m maintaining Disbibutor's and Dealer's separate
 business operations and the retention of Dealer to provide supervisor and operational senices, the parties have executed this
 Agreement and a separate Agreement, with the economic relationships of the parties to one another and to third persons shictly
 and solely governed by these terms and said agreements; and
           WHEREAS, the p d e s acknowledge that this Agreement assures that each party will receive the total revenue
 amibutable to such party's senice, capital invesbnent, and business risks and that no poltion of the revenue amibutable to the
 service, capital investment and business risks of the other party;
          WHEREAS, Diskibutor and Dealer acknowledge that in connection with this Agreement they may have also
 executed, among other things, a Lease Agreement andlor Jubilee Proprietary Mark Agreement (hereinafter collectively
 "Ancillary Contracts"); and
           NOW THEREFORE, for and in consideration of the mutual covenants herein, the parties agree to the following:

      TERM. The Term of this Agreement shall be for ten (10                                  /-\ day of&J' I
 1.
      ("Effective Date') and ending on the /fay       of      d?    ears, beginning on the
                                                                                  ,20&
                                                                                                                              2    0      ~   6

 2.   SALE O F MOTOR FUEL & PROMOTION O F MARKETER
      a.   Dealer agrees to offer for retail sale motor fuel exclusively supplied by Marketer. Dealer further agrees that part of
           Dealer's Motor Fuel Operations is to operate Marketer's motor fuel dispensing equipment at the Store and to provide
           supervisory and other incidental services necessary for the efficient operation of said equipment, and the ultimate retail
           sale of Marketer's motor fuel. Dealer recognizes that it will financially benefit h m increased retail sales of
           Marketer's motor fuels. Dealer further recognizes that the Dealer Store Operations will benefit f?om consumer traffic
           due to increased retail sales of Marketer's motor fuels. In return for these benefits, Dealer agrees to use its best efforts
           to diligently promote the sale of Marketer's motor fuels upon the Premises.
      b.   The motor fuel sold to Dealer shall be the C h EvR          d           brand of motor fuel or the brand of Marketer's
           substitute supplier ("Brand or "Branded"), which election is and shall be subject to the sole discretion of
           Marketer. However, if for any reason Marketer ceases to be an authorized distributor of the said Brand in the
           geographical locality of the Premises or decides to voluntarily cease marketing the Brand at the Premises or
           through the actions or negligence of Dealer the Motor Fuel Operations on the Premises are debranded, then, at
           Marketer's election, (a) Marketer may terminate this Agreement without liability to Dealer as of a date coextensive
           with the termination of its distributorship rights for the Brand in said geographical locality or (b) require the Dealer
           to rebrand its station to a brand which is then being sold by Marketer.
      c.   If at any time the volume of motor fuel Marketer has available for sale and delivery to its customers, because of
           shortage of supply 6om Marketer's primary supplier or its other regular sources of supply or in the industry
           generally, or for any other reason, is less than the volume needed to supply all of its customers' demands, it is
           understood and agreed that Marketer shall make a reasonable effort to allocate and dishibute the volume of
           available motor fuel among its customers under a plan or formula of allocation that Marketer, in its sole discretion,
           determines is fair and reasonable. During the time the shortage exists, the volume Dealer is required (as the case
           may be) to purchase from Marketer shall be reduced to the amount Marketer allocates to Dealer pursuant to such
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        allocation plan or formula. When the shortage ends, neither party shall he obligated to make up any quantities not
        purchased by Dealer nor not sold and delivered by Marketer.
     d. This Agreement does not preclude Marketer from supplying to others andlor otherwise selling motor fuel in any
        market or geographic area in direct competition with Dealer.
3    m.The purchase price to be paid by Dealer shall he the terminal price by grade (rack price) plus freight, and all
     applicable federal, state and local taxes and fees, and the following (which shall be collectively referred to as
     "Distributor Margin"):
     a.   Unleaded Regular: rack price plus 3.5 cents per gallon
     b.   Unleaded Premium: rack price plus 3.5 cents per gallon
     c.   Unleaded Plus:    rack price plus 3.5 cents per gallon
     d.   Diesel:           rack price plus 3.5 cents per gallon
     e.   Other:            rack price plus 3.5 cents per gallon
     If Distributor's right to charge or receive any price payable pursuant to this Agreement, or to revise any price as
     provided in this Agreement is restricted or prohibited by law, regulation, or order of any governmental authority,
     Distributor may from time to time amend the provisions of this Agreement to the extent necessary to comply with the
     applicable regulation or order, but this Agreement shall otherwise continue to remain in full foree and effect.
4.   PAYMENT. Dealer shall pay the purchase price of motor fuel delivered to the Premises in lawful money of the United
     States without demand or discount made through the electronic transfer of monies ("EFT") to Distributor's account at
     the time of delivery and in no event later than five (5) days afler delivery or on the day of next delivery whichever
     comes first. If Dealer shall fail to make any payment when due as herein provided, Distributor may suspend further
     deliveries, without prior notice, until such payment has been made, or until this Agreement is terminated or not
     renewed. Such suspension shall not operate to relieve Dealer of its other obligations under this Agreement. Upon
     payment of any past due amount and any additional deposits required by Distributor as a condition precedent to
     resuming deliveries, deliveries shall immediately recommence if this Agreement has not been suspended. The
     addilional deposit required by Distributor shall not exceed Dealer's average purchases for any preceding t h i i (30) day
     period. Distributor may charge Dealer's deposit account at any time and from time to reimburse it for any sums then
     due of Dealer. If Distributor charges Dealer's deposit account for any reason permitted herein, Dealer shall replenish
     said account upon demand. Dealer's deposit account amount may be co-mingled with Distributor's other funds and
     shall be non-interest bearing for the Dealer. Nothing herein shall limit Distributor's remedies in the event of Dealer's
     failure to make any such payment when due.
5. DISTRIBUTOR'S EOUIF'MENT, MAINTENANCE, REPAIR & OPERATIONS OBLIGATIONS. In furthelance
   of this Agreement, Distributor shall h i s h the following at its own cost and expense, in furtherance of Motor Fuel
   Operations upon the Premises:
     a.   Motor fueldispensing equipment
     b.   Underground motor fuel tanks and related pumping equipment
     c.   Labor and material necessary for the proper installation of Distributor's equipment, unless repairs are caused by abuse
          and neglect by Dealer or Dealer's agents or employees.
6.   DEALER'S EOUIF'MENT. MAINTENANCE. REPAIR & OPERATIONS OBLIGATIONS. In furtherance of this
     Agreement, Dealer shall furnish the followin& at its own cost and expense, in furtherance of Motor Fuel Operations upon
     the Premises:
     a. The number, type, and make of credit card transaction machines deemed by the Marketer necessary for the
        successfully marketing of Marketer's motor fuel. This includes all related installation fees, line fees and transaction
        fees.
     b. Dealer shaU be responsible for the proper operation of Marketer's equipment and other property that is used by
        Marketer in the operation of Motor Fuel Operations. Dealer hereby acknowledges that such equipment is in good and
        operable condition. Dealer agrees to comply with applicable state laws and municipal ordinances, mles and regulations
        in connection with the operation of such equipment
     c. Dealer shall be responsible for the proper operation of Marketer's equipment and other property that is used in the
        Motor Fuel Operations. Dealer hereby acknowledges that such equipment is in good and operable condition.
        Marketer may deliver certain equipment fium time to time as Marketer deems necessary for Motor Fuel Operations
        upon the Premises.
     d. Dealer agrees to comply with applicable State Laws and municipal ordinances, rules and regulations in connection
        with the operation of all equipment provided under this Ageement. Dealer will be responsible for any fines penalties,
        assessments due to the negligence or omissions of Dealer or its employees.
     e. Dealer shall promptly respond (in writing if requested by Marketer) to any inquiries or complaints received by
        Dealer or Marketer in connection with Dealer's Motor Fuel Operations or Marketer's Motor Fuel Operations and
        take reasonable action to correct or satisfactorily resolve each such inquiry or complaint. If in Marketer's
        judgment Dealer fails to adequately respond to and correct or resolve customer inquiries or complaints, Marketer
        shall have the right but not the obligation to resolve such matters directly with customer, at Dealer's expense.
     f Provide immediate notice to Marketer of any claims by retail consumers of Marketer's motor fuel with regard to an
        alleged vice, defect or variance in quality, in which case Dealer shall retain all records and documentation with
        regard to the allegations and which may prove or disprove such allegations.
7. HOURS OF OPERATION. Both p d e s acknowledge the mutual benefit to be derived 6om keeping both Marketer's
     and Dealer's business operations open for business, properly staffed and adequately illuminated during at least those hours
     when competing businesses are open for operation. Hence, Dealer agrees to keep Marketer's Motor Fuel Opemtions open
     for business and adequately staffed for a total of twenty-four (24) hours per day seven (7) days per week, unless otherwise
     agreed by Marketer.
8. SCHEDULING OF PERSONNEL. Dealer shall cause to be scheduled during the hours of operation set forth herein,
   qualified, hained persomel to operate Marketer's motor fuel dispensing equipment and to collect for purchases made. The
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     number of employees hired, the levels of compensation, and the hours of labor shall be determined by Dealer, with Dealer
     responsible for all federal and state taxes, withholds, and insurance coverage incident to such employment Dealer shall be
     solely liable for any fines, sanctions or other penalties imposed as a result of Dealer's failure to comply with all state and
     federal regulations regarding Dealer's employees. SAID EMPWYEES SHALL BE EMPWYEES OF DEALER
     AND NOT EMPLOYEES OF MARKETER
9.   TITLE AND PRICES OF MOTOR FUELS. Title to all motor fuel shall remain in Marketer until sold to retail
     consumers, at which time title shall pass to such consumer retail purchaser. Dealer shall act as a bailee of Marketer's
     motor fuel inventory on Store premises. Marketer shall have the unqualified right to set the retail prices of Marketer's
     motor fuel (including but not limited to self-service grades of motor fuel) sold upon the Premises. In establishing the
     prices, Marketer will endeavor to keep such prices competitive with the retail prices of other major brands of motor fuel
     sold at retail in the bade areas.
10. ORDERING AND DELIVERY. Dealer shall determine the amount of Marketer's motor fuels sold the previous day and
    notify Marketer daily by methods determined by Marketer. Dealer shall both gauge and check for water contamination the
    underground motor fuel storage tanks daily and report the daily tank levels or the presence of water to Marketer by such
    methods as Marketer determines. There shall be a presumption that Dealer did not daily inspect the motor fuel storage
    tanks for water in the event that tank tighmess testing concludes that said tanks comply with DEQ pressure regulations. In
    the event that said tanks become contaminated with water and Dealer fails to immediately notify Marketer thereof,
    consistent with the daily examination requirement hereunder, then Dealer shall be responsible for all consequential
    damages that result, including but not limited to payment for repairs to consumer vehicles due to motor vehicle fuel tainted
    with water.
11. REPORTS AND INVENTORY RECORDS. Dealer shall keep a daily record of motor fuels sales, meter readings, and
    physical inventory measurements for each tank with respect to all business done at Marketer's motor Fuel operations, and
    Marketer may at any time examine such records, and make such inventories and inspections as it deems necessary. Dealer
    agrees to retain or to turn over to Marketer, as Marketer may reasonably require, such records of business done as in
    Marketer's opinion may be necessary or required for federal, state or local tax audits. In order to assist Marketer in
    detecting tank leakage or other causes of product shortages, andlor the presence of water or other foreign substances in the
    tanks, and in order to assist himself andlor Marketer in complying with any government requirements, Dealer's personnel,
    daily and whenever specifically requested by Marketer, shall for each tank system take physical inventory measurements of
    the amount of motor fuel in storage and shall record cumulative meter readings simultaneously. Dealer shall take physical
    inventory and meter readings simultaneously. Dealer shall report the results of the physical inventory measurements and
    product dispenser meter readings on a daily basis, Monday thmugh Sunday, through Marketer's computerized telephone
    system or other means of reporting as selected by Marketer, in Marketer's sole discretion. Failure to comply with this
    requirement will result in a twenty-five dollar ($25.00) per day fine for each day not reported or may result in termination
    of contract. Dealer hereby grants to Marketer the right to enter the Premises at any time for the purpose of taking its own
    inventory maurements andlor pump meter readings. Nothing contained herein shall derogate in any manner h m either
    Dealer's or Marketer's responsibility to comply with tank regismtion and reporting requirements or other governmental
    regulations
12. PRICING. COLLECTION AND REMITTANCES.
      a.  Dealer shall retain exclusive, sole discretion with regard to pricing of all motor fuel sold upon the Premises.
      b.  Dealer shall cause to be collected the retail price per gallon for all sales of motor fuel made with regard to Motor Fuel
          Operations upon the Premises. All credit card sales must be handled in accordance with the applicable credit card
          sales guidelines.
13. SIGNS. BRAND NAMES. PRODUCT OUALITY. To the extent that any branded fuel is supplied to Dealer by
    Distributor hereunder, it is understood and agreed by Dealer that Distributor neither owns nor controls the signs, brands,
    and trademarks or hade names with respect to motor fuel supplied by refiners to Distributor (the "Marks"). In such case,
    Dealer is hereby authorized by Distributor to use these Marks in connection with Motor Fuel Operations and to display
    these Marks at the Premises subject to the requirements for such use imposed by the owner of the Brand and by
    Distributor and the following:
           a.   Dealer agrees to maintain such signs and Marks in good condition and to otherwise use the Marks in a lawful
                manner. Dealer shall not do anything to disparage the goodwill of the Brand or to impair the Marks associated
                with the Brand. Dealer's right to use such Brands or Marks automatically terminates upon the expiration or
                termination of this Agreement.
           b.   Dealer agrees not to mix, substitute, adulterate or sell Distributor's motor fuel with any foreign materials or
                substances. Dealer agrees not to sell or pass off motor fuels of others as the motor fuel of Distributor, or
                Distributor's substitute supplier. Dealer further agrees not to permit the commingling of leaded with unleaded
                motor fuel or the sale of motor fuel under a Brand (as the case may be) which is in fact not a Branded motor
                fuel or is a grade of Branded motor fuel other than that described by the label or designation or has an octance
                level other than that provided on the label or description.
           c.   Dcaler agrees to sell all motor fuel sold hereunder only under the Brand or under the brand of Distributor's
                substitute supplier.
           d.   Dealer agrecs that the painting design and colors applied to the buildings, shuchlres, equipment, or fixtures by
                Dealer shall not be changed by Dealer during the term of this Agreement. Dealer also agrees to maintain the
                Marks on the equipment used to store and dispense such motor fuels.
           d.   Any pump, tank, container, receptacle, display apparatus, or equipment of any kind furnished by Distributor,
                as being so identified or having painted, marked, printed, or otherwise impressed therein or affixed thereto
                Distributor's name, or the brand of the supplier of Distributor's motor fuel products sold (as the case may be),
                 or the brand name of the Distributor's motor Fuel products sold (as the case may be), shall be used by Dealer
                only in connection with Motor Fuel Operations on the Premises.
           c.   Dealer agrees to maintain the Premises under the guidelines set forth in said branded program. Included under
                the guidelines, as set forth by Distributor's Branded supplier, the Dealer and Dealer's employees hereby agree
                to wear, at Distributor's sole discretion, the uniform approved by Distributor, and to participate in
                                                                 3
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             Distributor's branded promotions at Dealer's expense, as these promotions become available.
14. LICENSES. Dealer shall each bear the expense of licenses required for the operalion of Dealer's Motor Fuel Operations
    conducted upon the Premises.
15. TAXES. Dealer shall collect, account for and pay all federal, state and local excise and sales taxes applicable to the retail
    sale of Dis'aibutor's motor fuel. Dealer agrees to bear any additional tax, interest and penalties which result h m Dealer's
     failure to collecf account for and pay such excise and sales taxes, or which result for Dealer's failure to keep proper
     records with such taxes.
16. INSURANCE. The parties acknowledge their separate and distinct insurable interests and liability risks mociated with
    their independent business operations conducted on the Premises. To that extent the paties agree to apportion the
    requirement of obtaining adequate insurance coverage commensurate with their respective interest and assumed risks. To
    the extent that the parities have executed a separate Agreement with respect to the Premises and the sale of Distributor's
    motor fuel thereon, then the terms and conditions of said Agreement shall control with respect to the parties' W v e
    insurance obligations. In the event that there is no Agreement, then the following shall apply:
    a.   Insurance Maintained by Dealer. Dealer shall maintain in full force and effect on and after the Effective Date
         the following insurance:
         i. Insurance on personal property, equipment and inventory located on the Premises owned or operated by
              Dealer or Distributor or which pertains to Dealer's Business Operations and for the motor fuel purchased by
              Dealer and stored or otherwise dispensed on the Premises.
         ii. Insurance on the Premises for its full insurable value against loss or damage by all perils covered by an "all
              risks" insurance policy of the type generally available, provided that if such an all risks insurance policy is not
              generally available, then Dealer shall maintain insurance on the Premises against loss or damage by fire and
              against loss or damage by any other risk now and 6om time to time insured against by "extended coverage"
              provisions of policies generally available.
         iii. Comprehensive general liability insurance, with limits ofnot less than $1,000,000 with respect to bodily injury
              or death to any number of persons in any one accident or occurrence and $1,000,000 with respect to property
              damage in any one accident or occurrence.
         iv. Envimnmental pollution casualty and liability coverage with limits of not less than $1 million per event or
              occurrence and $1 million with respect to property damage in any one accident or occurrence.
         v. Business interruption insurance with coverage for at least six (6) months of Rent.
         vi. Worker's compensation insurance covering all persons employed by Dealer for such work and with respect to
              whom death or bodily injury claims could be asserted against Dealer, Dishibutor or the Premises.
         vii.      To the extent the Premises are located in a special flood hazard Zone A or if the Premises must be insured
              against flood under loan requirements of the Lessor's lender, such insurance must be not less than 100% of the
              full replacement cost of the Premises or the maximum amount available, whichever is greater.
         Each of the insurance policies referred to in this Section shall provide (if such provision is obtainable) that it shall
         not be canceled or its coverage reduced without at least thirty (30) days prior written notice to Distributor and
         Dealer. In addition, each liability insurance policy referred to in this Section shall name Distributor as an additional
         assured, and each property insurance policy referred to in this Section shall contain (if such provisions are
         obtainable) waiver of subrogation provisions pursuant to which the insurer waives all express and implied rights of
         subrogation against Distributor. All insurance required of Dealer pursuant to this Section shall be original paid-up
         insurance policies and shall be issued by companies authorized to conduct business in the state of Louisiana and
         having a Best Insurance Guide rating of A- or higher. For all insurance policies referred to in this Section, Dealer
         shall name Distributor as a named additional assured and provide Distributor with a certificate evidencing
         coverage.
17. DISTRIBUTOR'S SECURITY INTEREST. Dealer hereby gives to Distributor an express lien and security interest
    upon all of Dealer's property, including but not limited to inventoly and purchased motor fuel, now or at any time
    hereafter placed in or upon the Pemises, to secure the prompt payment of the any monies due hereunder and all other
    charges and obligations provided herein, all exemptions of such property, or any of it, being waived.
18. COMPLIANCE WITH LAWS & REGULATIONS.
    a.     General Laws & Regulations: Dealer shall comply fully and require Dealer's Motor Fuel Operations to comply
           fully with all applicable laws, regulations, judicial and adrninishtive orders, and guidelines of any governmental
           authority, including without limitation (a) those regulations regarding the availability of Material Safety Data Sheets,
           as located in Title 29, Code of Federal Regulations, Sections 1903.2, 1910.103, 1910.106, 1910.120 and 1910.1200;
           (b) all requirements of the American with Disabilities Act, 42 U.S.C. 12101 et seq, and the regulations promulgated
           thereunder; (c) the requirements of the Occupational Safety and Health Act, 29 U.S.C. Section 651 et seq, and the
            regulations promulgated thereunder; and (d) the Clean Air Acf 42 U.S.C. Section 7401 et seq, and the regulations
            promulgated thereunder.
     b. Environmental Laws & Regulations:
         i.     Lessee must notify Lessor of any notices by or actual actions by the DEQ, EPA or any State or Federal agency
                ("Agencies") with regard to inspections, required reports, and other activity. Lessee must furnish to Lessor
                copies of all inspections, reports and other written correspondence with or notification by Agencies. To the
                extent that the Lessee fails to comply with this Section, Lessee shall be responsible for any fines, costs and
                penalties for its failure to respond or timely act
        ii.     Lessee expressly acknowledges that it is the sole operator of the Motor Fuel Operations conducted on the
                Premises, and has full responsibility for the operation of the underground motor fuel storage tanks, piping
                system and motor fuel pumping equipment.
       iii.     Lessee shall not cause or permit any Hazardous Material, as hereinafter defined, to be brought upon, kept, or
                used in or about the Leased Premises, except for such Hazardous Material as is necessary or useful to Motor
                Fuel Operations and, even then, in a manner that is consistent with federal, state and local law ("Legal
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          Requirements"). Lessee expressly affinns, warrants and agrees that it shall take no action that is inconsistent
          with the Environmental Protection Act, and, more specifically, with the regulations governing the storage,
          dispensing and sale, of unleaded gasoline.
 iv.      Lessee further warrants and represents that it shall comply with all Legal Requirements and that any
          Hazardous Material brought upon, kept or used by Lessee on the Premises, and all containers therefor or
          residues thereof, shall be used, kept, stored, transported and disposed of in a manner that complies with all
          Legal Requirements.
   v.     Lessee shall not discharge, release, leak, or emit, or permit to be discharged, released, leaked, or emitted, any
          Hazardous Material into any buildings, parking areas, common areas, ahnosphere, ground, groundwater,
          sewer or drainage system of the Premises, or any body of water, if that material (as is reasonably determined
          by Lessor, or any governmental authority) pollutes or contaminates the same, adversely affects (I) the health,
          welfare, or safety of persons, whether located on the Premises or elsewhere, or (2) the condition, use, or
          enjoyment of the Leased Premises, or any other real or personal property, or if the discharge, release, leak or
          emission would violate or be prohibited by any Legal Requirement.
  vi.     Lessee shall disclose to Lessor, to the eaent and in the same manner that Lessee is required to make such
          disclosures by applicable Legal Requirements and as Lessor shall reasonably request in writing from time to
          time, the names and approximate amounts of all Hazardous Materials that Lessee intends to store, use, or
          otherwise allow to remain on the Leased Premises together with the operating procedures and method of
          handling, storing, transpohg, using and disposing of such Hazardous Materials listed.
 vii.     Should Lessee fail to perform or observe any of its obligations or agreements pertaining to Hazardous
          Materials under this Lease or under applicable Legal Requirements pertaining to the Premises and such failure
          continues after notice by Lessor to Lessee, then Lessor shall have the right, but not the duty, without limitation
          upon any of the rights of Lessor under this Lease, to enter the Premises and perform the same at Lessee's cost.
           In no event shall this clause relieve Lessee of any liability with regard to liability for all costs, fines and
          expenses related to Lessee's action or inaction under this Agreement.
viii.     Lessee hereby agrees that it shall be fully liable for all costs and expenses related to the presence, use, storage,
          or disposal of Hazardous Material permitted by Lessee to be located in or about the Premises, and Lessee will
          be solely responsible and shall give immediate notice to Lessor of any violation or potential violation of the
          provisions of this Section. The provisions of this Section shall be in addition to any other obligations and
          liabilities Lessee may have to Lessor, at law or equity, and shall survive the expiration or other termination of
          this Lease.
  ix.      "Hazardous Material" includes any substance:
          A. The use, storage, handling, disposal or presence of which requires a permit, authorization, approval,
                investigation or remediation under any federal, state or local s t a t e , regulation, ordinance, order, action,
                policy or common law; or
          B. Which is or becomes defined as any (i) "hazardous substance," "pollutants," or "contaminant" (as defined
                in Sections 101(14) and (33) of CERCLA or the regulations issued pursuant to Section 102 of CERCLA
                and found at 40 C.F.R §302), including any element, compound, mixture, solution, or substance that is or
                may be designated pursuant to Section 102 or CERCLA; (ii) substance that is or may be designated
                pursuant to Section 3 1l(b)(Z)(A) of the Federal Water Pollution Control Act, as amended (33 U.S.C. $8
                1251, 1321@)(2)(A)) ("FWPCA"); (iii) hazardous waste having the characteristics identified under or
                listed pursuant to Section 3001 of the Resource Conservation and Recovery Acc as amended (42 U.S.C.
                $8 690 I. 6921) ("RCRA") or having characteristics that may subsequently be considered under RCRA to
                constitute a hazardous waste; (iv) substance containing petroleum, as that term is defined in Section
                9001(8) of RCRA; (v) toxic pollutant that is or may be listed under Section 307(a) of FWPCA; (vi)
                hazardous air pollutant that is or may be listed under Section I12 of Clean Air Act, as amended (42
                U.S.C. $8 7401,7412); (vii) imminently hazardous chemical substance or mixture with respect to which
                action has been or may be taken pursuant to Section 7 of the Toxic Substances Control Acc as amended
                (15 U.S.C. $8 2601,2606); (viii) source, special nuclear, or by-product material as defined by the Atomic
                Energy Act of 1954, as amended (42 U.S.C. 8 201 1 et seq.); (ix) asbestos, asbestosqntaining material,
                or urea formaldehyde or material that contains it; (x) waste oil and other petroleum products; and (xii) any
                other toxic materials, contaminants, or hazardous substances or wastes pursuant to any Legal
                Requirement.
           C. Which is toxic, explosive, corrosive, flammable, infectious, radioactive, carcinogenic, mutagenic, or
                otheiwise dangerous to human health or the environment and is or becomes regulated by any
                governmental authority, agency, department commission, board, agency or instnunentality of the United
                States, the State of Louisiana or any political subdivision thereof.
           "Legal Requirements" means all laws, statutes, codes, acts, ordinances, orders, judgments, decrees,
           injunctions, rules, regulations (proposed or promulgated), permits, licenses, certificates, authorizations,
           restrictions and requirements of all governmental departments, commissions, boards, courts, authorities,
           agencies, officials and officers, foreseen or unforeseen, ordinary or extraordinary, which now or at any time
           hereafter are applicable to the Premises or Motor Fuel Operations, or any use or condition of the Premises or
           Motor Fuel Operations, including without limitation, all applicable building codes and zoning requirements.
      xi. "Litigation Expenses" means and includes, among other things, all of the following arising as a result of
           default: (a) legal expenses; @)accounting expenses; (c) expelt expenses; and (d) all court costs and expenses.
         T O OFFSET. The Dealer expressly agrees to the following:
         Any monies due by Dealer under this Agreement if unpaid, shall be assessed a monthly interest of one half
         percent (1 '12%) per month until paid.
         In the event Distributor is forced to place insurance on behalf of Dealer in order to comply with all Dealer
         insurance requirements provided for under this Agreement, the cost of said insumnce shall be paid for by
         Dealer upon demand, and Dealer hereby authorizes Distributor to EFT Dealer's account for said cost without
         any further notice or demand.
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         c.    In the event Distributor incurs any damages or otherwise is forced to expend monies on behalf of Dealer in
               order to ensure compliance with any Dealer obligations required under this Agreement, such expenses shall be
               paid for by Dealer upon demand, and Dealer hereby expressly authorizes Distributor to offset these amounts
               against any Dealer Commission payable without any further notice or demand.
20. INDEMNIFICATION.
         a. Dealer, to the maximum extent permitted by law, sball protect, defend, indemnify and hold Distributor and its
            employees (including attorney fees and cost of legal assistance) kee and harmless from and against any and all
            losses, claims, liens, and causes of action of every kind, including the amount of any judgments, penalties,
            interest, court costs and legal expenses (i.e., attorneys' fees and costs of legal assistants) incurred by
            Distributor in defense of same, arising in favor of any party on account of claims, liens, debts, personal injury,
            death or damages to property and all other claims or demands of every character occurring or in any way
            incident to, in connection with or arising out of the conduct of Dealer's Store Operations or Dealer's Motor
            Fuel Operations, or with the performance, acts or omissions by any consumers sewed by Dealer (including
            employees, agents, contractors and invitees of Dealer and Dealer's consumers). Dealer shall be solely
            responsible for the defense of any and all claims, demands or suits and agrees to bear all other costs related
            thereto. Dealer's obligations hereunder expressly extend to all pollution cleanup and response costs, claims
            and demands by any party, includig governmental agencies, arising out of any underground storage tank leaks
            or groundwater contamination, excepting any pollution or environmental claims and demands arising kom or
            related to the negligence or willful misconduct of Distributor. As used herein, "pollution cleanup and response
            costs" include, but are not limited to, costs of testing, costs of site rehabilitation and other costs for the cleanup
            of discharge of petroleum products.
         b. Dealer shall be responsible for maintaining in force during the term of this Agreement all insurance required
            under the Agreement and as required by law. Such insurance will in no way limit or restrict Dealer's
            obligations under this Section to indemnify Distributor, and further, the insurance will be in no way be limited
            by any limitation placed upon the indemnity herein given as matter of law.
21. INCORPORATION O F AGREEMENT TERMS. In conjunction with the execution of this Agreement, Distributor and
    Dealer have entered into Ancilliary Agreements with regard to the Premises. A breach of an Ancillary Agreement shall be
    considered a breach of this Agreemenl, and the termination of an Ancillary Agreement shall be deemed a termhation of
    this Agreement.
22. NOTICE. Any notice required hereunder ("Notice") sball be in writing and shall be deemed served to the other party
    either when personally delivered to the other party, or when mailed via certified mail to the other party at the address
    first set forth herein above, unless a more recent address has been received.
23. DEFAULTS. Each of the following shall constitute an event of default ("Default"):
         a.    The Distributor or Dealer fail to keep, perform, observe andlor comply with any promise, covenant, term,
               condition and obligation under this Agreement or any Ancillary Agreement;
         b.    The Dealer becomes insolvent, or shall take the benefit of any present or future insolvency statute, makes a
               general assignment for the benefit of creditors, consents to the appointment of a receiver, trustee, or liquidator
               of all or substantially all of its property, or files a petition in bankruptcy or is adjudged bankrupt.
         c.    The Dealer fails to timely pay any monies when due with regard to this Agreement or any Ancillary
               Agreement;
          d.   The termination by either party or both parties of an Ancillary Agreement, in which case this Agreement shall
               also terminate upon the same terms and the same time.
24. TERMINATION. Upon an event constituting a Default, and such Default continues uncured for a period of five (5)
    days after written notice of such Default, then:
          a.   If the Dealer is the party in Default, then the Distributor may at its option to choose all or just one of the
               following:
               i. Recover any delinquent monies or payments due under this Agreement, together with all interest due
                    thereon;
               ii. Correct or resolve an event of Default in which event Distributor retains the option of debiting the
                    Dealer's Commissions or collecting the costs to cure kom the Dealer;
               iii. Seek any other appropriate legal or equitable remedy, including but not limited to injuctive relief, specfic
                    performance or damages.
25. MISCELLANEOUS.
    a.    Cumulative Rights. The remedies of both parties hereunder shall be deemed cumulative and no remedy of either
          party, whether exercised or not, shall be deemed to be in exclusion of any other.
    b.    No Waiver. The Dealer agrees that in the performance of this Agreement and the terms, covenant, and conditions
          hereunder, time shall be of the essence and that Distributor's acceptance of partial or delinquent payments or
          performance hereunder, or failure by Distributor to exercise any right or remedy shall not constitute a waiver of
          any obligation or performance of Dealer or right of Dealer or a waiver of any other similar or subsequent default or
          failure. Unless otherwise expressly agreed to in miting duly executed in wnfomity with the provisions contained
          here withii and, if for any reason Distributor shall r e b i n on any occasion or series of occasions, from instituting legal
          action in connection with any past, existing or threatened breach hereof, or if in any one instance or more Distributor
          shall fail to exercise any right or privilege herein conferred, or shall not require conformance to any limitation, or sball
          not insist upon the performance of any of the terms and conditions of this agreement, such failure shall not be
          consmed as a waiver thereof and shall not be taken or held to affect the right of Dism%utor at any time thereof and
          shall not be taken or held to affect the right of Distributor at any time thereafter to enforce and avail itself of ever such
          right and privilege, limitation, term, or condition.
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   c.    Assignment & Sublettinp, Dishibutor reserves the right to assign this Agreement without the consent of the
         Dealer. Dealer may not assign this Agreement without the prior express written consent of the Distributor. This
         Agreement shall be binding upon the heirs, successors and assigns of the parties.
   d.    Attorneys' Fees and Expenses. In the event Distributor is required to discharge any obligation of Dealer required
         hereunder, pay any taxes, liens, interest, or pay for any repairs, maintenance, upkeep or other debt or obligation of
         Dealer required hereunder, or shall be required to expend sums for the enforcement of this Agreement or protection
         of Dealer's rights created by this Agreement, or take such action to protect any intellectual property owned by
         Distributor or Distributor's suppliers, or take such W e r action deemed by the Distributor necessary to protect
         Distributor's Motor Fuel Operations, Distributor shall be entitled to reimbursement for all sums so expended
         including, but not limited to, attorney's fees (including costs of legal assistants) and court costs. All sums so
         expended shall bear interest from the date of payment at a rate of one half percent (I '/f/o) per month.
   e.    No Apencv relations hi^. Nothing in this Agreement shall be consbued as reserving or granting to Distributor any
         right to exercise control over or direct the d a y - t h y conduct to management of Dealer's business. Dealer is an
         independent conhactor for these purposes, subject to the obligations set forth herein for Dealer to provide specific
         work and services to Distributor. Dealer shall have not authority to make any contracts or representations whatsoever
         in the name of or in behalf of Distributor. Dealer shall not be deemed an employee of Distributor, nor shall Dealer's
         employees be deemed employees of Distributor, as the term "employee" has haditionally been defined under the
         common law or State of Louisiana or by the rulings and regulations of the Internal Revenue Service. It is the intent of
         the parties that the relationship behveen Distributor and Dealer (including any of Dealer's employees, agents,
         customers, visitors, invitees, guests, contractors, subcontractors, licensees, or any other person(s) whomsoever, in
         connection with this Agreement) is that of independent conhacting parties, and is not, and shall not be deemed to
         be, any other relationship, including without limitation that of joint venturers, pamen, agents or principal-agents.
   f.    Severabilitv. If, for any reason, any provision in this Agreement shall not be authorized by law or shall be deemed
         void for public policy reasons or otherwise, then that provision shall be severable from the remaining provision
         which shall continue in Full force and effect.
   g.    Entire Aereement This Agreement represents the entire agreement behveen the parties and cancels and
         supersedes any previous agreements with respect to Motor Fuel Operations behveen the parties. Any and all
         amendments and modifications to same shall be in writing and executed by both parties.
   h.    Counterparis. This Agreement may be executed in one or more counterparts, each of which when so executed shall
         be deemed to be an original, and all of which together shall constitute one and the same inshument.
   i.    Governing Law. This Agreement shall be deemed to be negotiated, executed and performed under the laws of the
         State first mentioned hereinabove and all disputes related to this Agreement, whether past, present or Future, shall be
         governed by and construed under that state's said laws.
   j.    Interpretation. Should any provision of this Agreement require judicial interpretation, Dealer and Distributor hereby
         agree and stipulate that the court interpreting or considering same shall not apply the presumption that the terns hereof
         shall be more strictly consbued against a party by reason of any rule or conclusion that a document should be
         construed more strictly against the party who itself or through its agent prepared the same, it being agreed that all
         parties hereto have participated in the preparation of this Agreement and that each party had full opportunity to consult
         legal counsel of its choice before the execution of this Agreement.
   k.    Headings The section headings contained in this Agreement are for convenience only and shall not enlarge or limit
         the scope or meaning of the various and several sections hereof. Words in the singular number shall be held to include
         the plural, unless the context otherwise requires.,
    I.   Authority to Contract. Each party hereto warrants, represents and covenants that it has Full, unfettered legal
         right, power and authority to execute and deliver this Agreement.
    m.    Force Maieur. Distributor shall not be liable to Dealer for compensation, loss or damage due to any delay or failure
          by Distributor to furnish motor Fuel with respect to Motor Fuel Operations due to any delay or failure for failure to
          perform this Agreement when such, failure is due to "force majeure." "Force Majeure" shall mean acts of God, the
         common enemy or circumstances beyond the reasonable control of the person claiming the same, including but not
          limited to earthquakes, fire, flood, malicious mischief, strikes, lockouts, boycotts, picketing, labor disturbances or
          industrial disputes or disturbances, civil disturbances, arrests and restraints, interruptions by government or court
          orders, present an Future valid orders of any regulatory body having proper jurisdiction, acts of the public enemy,
          wars, riots, insurrection inability to secure labor or inability to secure materials, including inability to secure
          materials by reason of allocations promulgated by authorized governmental agencies, epidemics, fires explosions,
          breakage or accident to machinery or lines of pipe, 6eezing of wells, or pipelines, inability to obtain easements,
          right-of-way, or other interest in realty, the making of repairs, replacements, or alterations to lines of pipe or plants,
          partial or entire failure of gas supply or demand over which neither Distributor's supplier nor Distributor have
          reasonable control, or any other cause, whether of the kind herein enumerated or othenvise, not reasonably within
          the control of the party claiming "force majeure." Events of "force majeure" shall, so far a . possible, be remedied
          with all reasonable dispatch. The settlement of industrial difficulties shall be within the discretion of, the party
          having the difficulty, and the requirement that "force majeure" be remedied with all reasonable dispatch shall not
          require the settlement of industrial difficulties by acceding to the demands of any opposing party when such course
          is inadvisable in the discretion of the party having the difficulty. Whenever such causes in Distributor's judgment
          require restriction of deliveries, Distributor reserves the right in its discretion to restrict deliveries to Dealer
          without liability, and Dealer may thereupon obtain a suitable temporary replacement supply in such case of force
          majeure, but only on an emergency basis and until such time as Distributor may recommence deliveries.
    n.    Limitation of Damaees. Unless expressly provided for herein, neither party hereto shall be liable for any
          indirect, special, incidental, consequential or punitive damages whether under tort, contract strict liability, statute
          or otherwise.
    THUS DONE AND SIGNED in the presence of the undersigned competent wifnesses after due'reading of the whole
Agreement, the parties hereto have caused this Agreement to be executed pursuant to the appropriate authority duly given
on the date first mentioned above
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DEALER:                                WITNESSES:




                                       Print Name:


DISTRIBUTO                                    WITNESSES:

By:

Title: Herb Stathes, President         Print Name:
      Hill City Oil Company, Ine.
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                             JUBILEE PROPRIETARY MARK AGREEMENT

                                                REEMENT (the "Mark Agreement") is made and entered into on the
                                                 ("Effective Date") by and behveen Hill City Oil Company, Inc., a
                                                 Dunn Street, Houma, LA 70360 ("Grantor"); and Tolliver Enternational
    ldin Corp.,      presented by William McFarland, Michael Tolliver and Vincent Tolliver,, whose address is
$!    .dm h?           IPA!~)?~               ('Grantee"), who for good and valuable consideration, the receipt and
 sufficiencyof which are hereby acknowledged, do hereby agree as follows:
                                                         RECITALS

          WHEREAS, Grantee operates a convenience store business upon the Premises, as hereinafter defined, at which
 location Grantee will exclusively sell Grantor's motor fuels on a consignment basis ("Grantee's Motor Fuel Operations"); and
           WHEREAS, Grantees also operates a convenient store business, and retail consumer sales, rentals and/or services
 made or performed upon the Premises ("Grantee's Store Operations") with Grantee's Store Operations being separate, apart
 and distinct iium Grantor's Motor Fuel Operations and Grantee's Motor Fuel Operations (hereinafter they shall collectively be
 referred to as "Motor Fuel Operations"); and
            WHEREAS, Grantor currently engages in, among other things, the supply of branded and unbranded motor fuel for
 retail sale to consumers ("Grantor's Motor Fuel Operations"); and
          WHEREAS, Grantor owns certain trade names, service marks, trade dress, trademarks, logos, emblems and
 indicia or origin, including without limitation the name and mark "Jubilee," "Jubilee Food Store," "Ride U.S.A.," and such
 other names, marks, logos, emblems, and indicia as Grantor may ffom time to time use in connection with the supply of
 motor fuel (hereinafter collectively referred to as "Proprietary Mark"); and
         WHEREAS, Grantor and Grantee acknowledge that in connection with this Mark Agreement they may have also
 executed, among other things, a Motor Fuel Sales Management Agreement and/or Motor Fuel Sales Agreement andlor Lease
 Agreement (hereinafter collectively "Ancillary Contracts"); and
          NOW THEREFORE, for and in consideration of the mutual covenants herein, the parties agree to the following:
     I.    GRANT.
              a. By this Mark Agreement, Grantor agrees to permit Grantee to use its Proprietary Mark in connection with
                 Grantee's retail sale of motor fuel at the following location: 1001 Broadway, Delhi, Louisiana (the
                 "Premises").
              b. In exchange, Grantee agrees that Grantor shall be the exclusive supplier of motor fuel to Grantee's Motor
                 Fuel Operations. Grantee also agrees to exclusively use the Proprietary Mark in connection with Grantee's
                 Store Operations and Grantee's Motor Fuel Operations (hereinafter collectively "Grantee's Jubilee Branded
                 Business Operations").
              c. This Mark Agreement does not preclude Grantor iium granting to others the right to use the Proprietary
                 Mark, regardless of the market or geographic area and regardless of whether such grant competes, directly
                 or indirectly, with Grantee or Grantee's Jubilee Branded Business Operations.
              d. Nothing herein shall be construed as Grantor in fact or being obligated to extend any credit to Grantee. If
                 grantor, in its sole discretion, does elect to extend credit to Grantor, such extension of credit shall be made
                 only in writing.
              e. Nothing herein shall be construed as Grantor conveying the right to Grantee to alter or change the
                 Proprietary Mark, including but not limited to use of aderivative name.
     2.    BRAND IDENTIFICATION.
              a. Grantee acknowledges and agrees that Grantee's Motor Fuel Operations upon Premises shall be operated
                 under the name of either "Jubilee" or "Ride U.S.A." and Premises used in connection with Grantee's
                 Motor Fuel Operations accordingly shall bear this logo exclusively.
              b. Grantee acknowledges and agrees that Grantee's Store Operations upon Premises shall be operated under
                 the name of 'Jubilee" or "Jubilee Food Store," and that Grantee's Store Operations shall bear these
                 logos exclusively. Grantee further agrees to attend all Jubilee Food Store meetings, to require all of its
                 employees, including the Grantee itself, to wear appropriate uniform, as approved by Grantor, while on
                 duty, and to participate in all promotional activities and advertising sponsored by the Grantor.
              c. Grantee acknowledges that the operation of Grantee's Jubilee Branded Business Operations impacts the
                 customers' perception and overall acceptance of the Proprietary Mark. Accordingly, Grantee shall operate
                 its Jubilee Branded Business Operations in compliance with Grantor's requirements for said operations as
                 set out f?om time to time by Grantor and at all times in compliance with this Mark Agreement.
              d. Grantor retains exclusive authority with regard to the nature, extent and scope of Grantee using Jubilee
                 Food Store cups, lids, signs and packages and Grantee's participation in training and incentive programs
                 offered by the Grantor or Grantor's suppliers.
              e. Grantee acknowledges that it will keep the Premises ffee of dirt and debris and will maintain a high level
                 of cleanliness on the Premises and both inside and outside the store, so as not to detract !?om the image
                 that Grantor is trying to project with regard to the Proprietary Mark.
              f. If Grantee fails to comply with this Mark Agreement or Grantor's requirements hereunder, Grantor may
                 require Grantee to stop operating Grantee's Jubilee Branded Business Operations and may also withdmw its
                 approval for the use of the Proprietary Mark.
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3.     JUBILEE CREDIT CARD.
            a.      Authorized Jubilee Credit Card Transactions:
                   i.   Grantor grants to Grantee and Grantee's Jubilee Branded Business Operations the privilege of
                        honoring, and Grantee's Jubilee Branded Business Operations shall accept and honor, valid Jubilee
                        Credit Cards or other valid credit or debit cards, if any, authorized by Grantor h m time-tc-time
                        (collectively "Branded Credit Cards") for all products (including convenience store merchandise, food
                        service, and motor fuel products) and services customarily offered at retail facilities to the motoring
                        public and all services offered by Grantee with respect to Grantee's Jubilee Branded Business
                        Operations. Grantee shall be responsible for any breaches by it or Grantee's employees of this Mark
                        Agreement or inshuctions by Grantor.
                  ii.   Credit cards other than the Jubilee Credit Card may be honored, provided they are in accordance with
                        this Agreement and the Ancillary Agreements.
                 iii.   Grantor reserves the right to revoke the privilege of Grantee honoring Jubilee Credit Cards at any time.
            b.     Jubilee Credit Card Administration:
                  i.    At the election of Grantor, all of Grantee's Jubilee Credit Card sales shall be processed electronically.
                        However, Credit Card transactions may be manually processed in the following instances:
                        a. A credit card cannot be elecmnically pmcessed because of physical defect such as a defective or
                             missing magnetic ship;
                        b. Transactions processed during a temporary "down-time" of the point of sale equipment for
                             reasons including, without limitation, hardware or software problems, loss of communications,
                             and power outages; or
                        c. When inshucted by the point of sale equipment to use the manual imprinter.
                 ii.    At the election of Grantor, all of Grantee's Jubilee Credit Card sales shall be processed exclusively by
                        a credit card system selected by Grantor, Grantor's credit card system, or by Grantee's merchant
                        processor. Furthermore, in the event that a satellite credit card system is selected by Grantor, Grantee
                        shall be required to use same and to pay for all related charges and fees. Grantor agrees that such
                        charges will be reasonable as defined by normal and customary industry charges.
            c.      Processine Jubilee Credit Card Transactions:
                  i.    Grantee shall make sales of products and services with respect to Grantee's Jubilee Branded
                        Business Operations to persons presenting a valid Jubilee Credit Card in which case Grantee shall
                        comply with the instructions, policies and restrictions set forth herein as well as any Jubilee Credit
                        Card program guidelines developed by Grantor, as amended 60m time to time. Grantee
                        acknowledges that it has received a copy of these guidelines. Grantee understands that its failure to
                        comply with the instructions, policies or restrictions set forth in the guidelines will result may result
                         in the refusal by Grantor or Grantor's merchant to accept Jubilee Credit Card invoices and/or to
                        charge back to Grantee any such deficient Jubilee Credit Card invoices.                        GRANTEE
                         UNDERSTANDS AND AGREES THAT IT SHALL BE EXCLUSIVELY RESPONSIBLE FOR
                        ALL CHARGE BACKS.
                  ii.    Grantee acknowledges that it must obtain an authorization number for each Jubilee Credit Card
                        transaction that it accepts.
                 iii.    All Jubilee Credit Card chargebacks authorized hereunder, or by an Ancillary Agreement, shall be
                         paid to Grantor via electronic fund transfer ("EFT') or other method as designated from time to time
                         by Grantor in its sole discretion. Grantor shall have the right to charge back to Grantee's account,
                         within six (6) months of the date of sale or within six (6) months of submittal, whichever is later, the
                         face value or any portion thereof, any chargeback claimed against Grantor.
                 iv.     Grantor retains the right to implement any and all h u d prevention measures as Grantor in its sole
                         discretion deems necessary, which shall include but not be limited to, chargeback rights, purchase
                         restrictions, card restrictions, card reader in dispenser restrictions, mining, penalties, fines and other
                         assessments.
                   v.    All uncollectable credit card transaction and/or credit card charge-backs shall be the sole
                         responsibility of Grantee. On a bi-weekly basis, any surplus shall be transferred to Grantor's account
                         by EFT transfer.
                 vi.     All uncollectable Jubilee Credit Card transaction and/or Jubilee Credit Card charge-backs shall be
                         the sole responsibility of Dealer. On a bi-weekly basis, any surplus shall be transferred to Grantor's
                         account by EFT transfer.
             d. Jubilee Credit Card Records: Grantee shall be responsible for retaining all sales reports and records,
                whether paper or electronic, with regard to Jubilee Credit Card sales, which must be remitted daily to
                Grantor.
4.     DEFAULTS. Each of the following shall constitute an event of default ("Default"):
       a.   The Grantor or Grantee fail to keep, perform, observe andlor comply with any promise, covenant, term,
            condition and obligation under this Mark Agreement or any Ancillary Agreements;
       b.   The Grantee becomes insolvent, or shall take the benefit of any present or future insolvency statute, makes a
            general assignment for the benefit of creditors, consents to the appointment of a receiver, trustee, or liquidator
            of all or substantially all of its property, or files a petition in bankruptcy or is adjudged bankrupt.
       c.   The Grantee fails to timely pay any monies due hereunder or with respect to any Ancillary Contracts, when
            due;
       d.   The termination by either party or both parties of any Ancillary Agreements, in which case this Mark
            Agreement shall also terminate upon the same terms and the same time.
 5.    TERMINATION. Upon an event constituting a Default, and such Default continues uncured for a period of five
       (5) days after written notice of such Default, then:
       a.    If the Grantee is the party in Default, then the Grantor may, at its option to choose all or just one of the
             following:
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           i.   Recover any delinquent monies or payments due under this Mark Agreemen& together with any
                applicable interest due thereon;
           ii. Correct or resolve an event of Default, including but limited to taking all necessary action to correct the
                Default and to maintain and preserve the Proprietary Mark;
           iii. Terminate this Mark Agreemen& in which event Grantee shall immediately surrender the Proprietary
                Mark, and any indicia, signs, logos, etc. in connection with the Proprietary Mark, to Grantor and Grantor
                shall be entitled to enter upon the Premises and otherwise take possession of the Proprietary Mark, all
                without further notice or demand. This right shall also include the right of Grantor to have and recover
                all of damages and losses to Grantor arising out of the Default kom the Grantee.
           iv. Seek any other appropriate legal or equitable remedy, including but not limited to injunctive relief,
                specific performance or damages.
     b.    If the Grantor is the party in defaul&then Grantee may, at its option:
           i.  Recover all of its damages and losses arising out of such Default and recover all of its damages and losses
               arising out of such default kom the Grantor.
           ii. Terminate this Mark Agreemen& which shall including the right to have and recover all of its damages
               and losses arising out of the Default kom the Grantor, upon thirty (30) days additional notice of intent to
               terminate being given to the Grantor unless the Grantor cures such default and pays to the Grantee all
               losses and damages incurred by the Grantee prior to the expiration of such additional thirty (30) day
               period.
6.    NOTICES. Any notice required hereunder ("Notice") shall be in writing and shall be deemed served to the other
      party either when personally delivered to the other party, or when mailed via certified mail to the other party at the
      address first set forth herein above, unless a more recent address has been received.
7.    MISCELLANEOUS.
      a.  Cumulative Rights. The remedies of both parties hereunder shall be deemed cumulative and no remedy of
          either party, whether exercised or no&shall be deemed to be in exclusion of any other.
      b. No Waiver. Grantee agrees that in the performance of this Mark Agreement and the terms, covenam and
          conditions hereunder, time shall be of the essence and that Grantor's acceptance of partial or delinquent
          payments or performance hereunder, or failure by Grantor to exercise any right or remedy shall not constitute
          a waiver of any obligation or performance of Grantee or right of Grantor or a waiver of any other similar or
          subsequent default or failure.
      c. Assienment & Sublettin& Grantor reserves the right to assign this Mark Agreement andlor the Proprietary
          Mark without the consent of the Grantee. It is within Grantor's sole discretion with regard to whether
          Grantee may assign this Mark Agreement. As such, Grantee may not assign, grant or otherwise allow the use
          or operation of the Proprietary Mark, including exercise of any rights related thereto, to any third party,
          subsidiary, affiliate or other person without the prior wrinen consent of Grantor, which remains in the sole
          discretion of Grantor, and, then, only if Grantor has (i) expressly approved branding of said third party,
          subsidiary, affiliate or other person, and (ii) an exclusive Mark Agreement for the provision of motor fuel thud
          party, subsidiary, affiliate or other person. This Mark Agreement shall be binding upon the heirs, successors and
          assigns of the parties.
      d. Attornevs' Fees and ExDenses. In the event Grantor shall be required to discharge any obligation of
          Grantee required hereunder, pay any taxes, liens, interest or other debt or obligation of Grantee required
          hereunder, or take such further action deemed by the Grantor necessary to protect the Proprietary Mark and
          Grantor's interest therein due to the intentional or negligent actions of Grantee, Grantor shall be entitled to
          reimbursement for all sums so expended including, but not limited to, attorney's fees (including costs of legal
          assistants) and court costs. All sums so expended shall bear interest 6.0113 the date of payment at a rate of one
          half percent (I 'h%)per month.
      e. No Aeencv relations hi^. Nothing contained in this Mark Agreement is intended or shall be conshued as
          reserving or granting to Grantor any right to exercise cone01 over or to direct the conduct or management of
          Grantee's business conducted on the Premises. To the contrary, the entire control and direction of Grantee's
          business operations shall be vested in the Grantee. Grantee shall have no authority to contract for Grantor or
          make any commitment whatsoever in the name of or on behalf of Grantor. The relationship between Grantor
          and any of Grantee's employees, agents, customers, visitors, invitees, guests, contractors, subcontractors,
          licensees, or any other person(s) whomsoever, in connection with this Mark Agreement is that of independent
          contracting parties, and is no& and shall not be deemed to be, any other relationship, including without
          limitation that of joint venturers, partners, or principal-agents.
      f. Severabilitv. If, for any reason, any provision in this Mark Agreement shall not be authorized by law or shall
          be deemed void for public policy reasons or otheiwise, then that provision shall be severable 6om the
          remaining provision which shall continue in full force and effect.
      g. Entire Aereement This Mark Agreement represents the entire agreement between the parties and cancels
          and supersedes any previous agreements with regard to the use by Grantee of the Proprietary Mark. Any and
          all amendments and modifications to same shall be in writing and executed by both parties.
      h. Counter~arts. This Mark Agreement may be executed in one or more counterparts, each of which when so
          executed shall be deemed to be an original, and all of which together shall constitute one and the same instrument.
       i. Governioe Law. This Mark Agreement shall be deemed to be negotiated, executed and performed under the
          laws of the Louisiana and all disputes related to this Mark Agreemen&whether pas& present or fume, shall be
          governed by and wnshued under said law.
      j. Inter~retation.Should any provision of this Mark Agreement require judicial interpretation, Grantor and Grantee
          hereby agree and stipulate that the court interpreting or considering same shall not apply the presumption that the
          terms hereof shaU be more strictly c o ~ ~ h u against
                                                           ed     a party by reason of any ~ u l eor conclusion that a document
          should be conshued more strictly against the party who itself or through its agent prepared the same, it being
          agreed that all parties hereto have participated in the preparation of this Mark Agreement and that each party had
          full opportunity to consult legal counsel of its choice before the execution of this Mark Agreement.
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          k. Headinps. The section headings contained in this Lease are for convenience only and shall not enlarge or limit
             the scope or meaning of the various and several sections hereof. Words in the singular number shall be held to
             include the plural, unless the context otherwise requires.
          I. Authority to Contract Each party hereto wanants, represents and covenants that it has full, unfettered legal
             right, power and authority to execute and deliver this Mark Agreement.
          m. Limitation of Damaees. Unless expressly provided for herein, neither party hereto shall be liable for any
             indirect, special, incidental, consequential or punitive damages whether under tort, contract strict liability,
             statute or otherwise.
    THUS DONE AND SIGNED in the presence of the undersigned competent wimesses after due reading of the whole
                                                       ment to be executed pursuant to the appropriate authority




Title:                                                Print Name:
                                                                          "


                                                      Print Name:

GRANTEE:                                              WITNESSES:




                                                      Print Name
